(1 of 64), Page 1 of 64        Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 1 of 64




                                                    No. 24-142


                                  IN THE UNITED STATES COURT OF APPEALS
                                        FOR THE NINTH CIRCUIT

                          PAM POE, by and through her parents and next friends PENNY and
                                                   PETER POE,

                                                                      Plaintiffs-Appellees,
                                                            v.
                      RAÚL LABRADOR, in his official capacity as Attorney General of the
                                           State of Idaho, et al.,
                                                                       Defendants-Appellant.

                                  On Appeal from the United States District Court
                                             for the District of Idaho
                                            No. 1:23-cv-00269-BLW

                   SUPPLEMENTAL APPENDIX TO PLAINTIFFS-APPELLEES’
                 OPPOSITION TO APPELLANT’S MOTION TO SUPPLEMENT THE
                           RECORD OR TAKE JUDICIAL NOTICE


             Li Nowlin-Sohl                                Brad S. Karp
             (admitted only in Washington)                 Alexia D. Korberg
             James D. Esseks                               PAUL, WEISS, RIFKIND, WHARTON &
             Chase B. Strangio                             GARRISON LLP
             AMERICAN CIVIL LIBERTIES UNION                1285 Avenue of the Americas
             FOUNDATION                                    New York, NY 10019
             125 Broad St.                                 Tel: (212) 373-3000
             New York, NY 10004                            bkarp@paulweiss.com
             Tel: (212) 549-2584                           akorberg@paulweiss.com
             lnowlin-sohl@aclu.org
             jesseks@aclu.org
             cstrangio@aclu.org
(2 of 64), Page 2 of 64    Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 2 of 64




             Richard Eppink                            Jordan E. Orosz
             WREST COLLECTIVE                          PAUL, WEISS, RIFKIND, WHARTON &
             812 W. Franklin St.                       GARRISON LLP
             Boise, ID 83702                           2001 K Street, NW
             Tel: (208) 742-6789                       Washington, DC 20006-1047
             ritchie@wrest.coop                        Tel: (202) 223-7300
                                                       jorosz@paulweiss.com

             Eric Alan Stone                           Paul Carlos Southwick (ISB No. 12439)
             GROOMBRIDGE, WU, BAUGHMAN AND             Emily Myrei Croston (ISB No. 12389)
             STONE LLP                                 ACLU OF IDAHO FOUNDATION
             565 Fifth Avenue, Suite 2900              P.O. Box 1897
             New York, NY 10017                        Boise, ID 83701
             Tel: (332) 269-0034                       Tel: (208) 344-9750
             eric.stone@groombridgewu.com              psouthwick@acluidaho.org
                                                       ecroston@acluidaho.org
             Philip S. May
             GROOMBRIDGE, WU, BAUGHMAN AND
             STONE LLP
             801 17th St. NW, Suite 1050
             Washington, DC 20006
             Tel: (202) 505-5830
             philip.may@groombridgewu.com


                                     Attorneys for Plaintiffs-Appellees
(3 of 64), Page 3 of 64     Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 3 of 64




                          SUPPLEMENTAL APPENDIX TABLE OF CONTENTS

                                                                                  Supp. App.
              Description
                                                                                  Page No.

              Plaintiffs’ Opposition to Attorney General’s Motion for Entry of         1
              Previously Agreed Upon Protective Order [D.I. 99]

              Declaration of Philip S. May in Support of Plaintiffs’ Opposition        18
              to Attorney General’s Motion for Entry of Previously Agreed
              Upon Protective Order [D.I. 99-1]

              Exhibit A Declaration of Philip S. May in Support of Plaintiffs’         21
              Opposition to Attorney General’s Motion for Entry of
              Previously Agreed Upon Protective Order [D.I. 99-2]

              Exhibit B to Declaration of Philip S. May in Support of                  24
              Plaintiffs’ Opposition to Attorney General’s Motion for Entry of
              Previously Agreed Upon Protective Order [D.I. 99-3]

              Exhibit C to Declaration of Philip S. May in Support of                  42
              Plaintiffs’ Opposition to Attorney General’s Motion for Entry of
              Previously Agreed Upon Protective Order [D.I. 99-4]

              Order dated June 26, 2024, Boe v. Marshall, 2:22-cv-00184-               46
              LCB-CWB (M.D. Ala.), D.I. 614

              Excerpts of July 18, 2024 Trial Transcript, Moe v. Yost, 24CV-           48
              2481 (Ohio Ct. C.P. Franklin Cty.)
(4 of 64), Page 4 of 64      Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 4 of 64
                      Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 1 of 17




            Li Nowlin-Sohl*                          Brad S. Karp*
            (admitted only in Washington)            Alexia D. Korberg*
            Leslie Cooper*                           Jackson Yates*
            AMERICAN CIVIL LIBERTIES UNION           Dana L. Kennedy*
            FOUNDATION                               PAUL, WEISS, RIFKIND, WHARTON &
            125 Broad St.                            GARRISON LLP
            New York, NY 10004                       1285 Avenue of the Americas
            Tel: (212) 549-2584                      New York, NY 10019
            lnowlin-sohl@aclu.org                    Tel: (212) 373-3000
            lcooper@aclu.org                         bkarp@paulweiss.com
                                                     akorberg@paulweiss.com
                                                     jyates@paulweiss.com
             Richard Eppink (ISB no. 7503)           dkennedy@paulweiss.com
             Casey Parsons (ISB no. 11323)
             David A. DeRoin (ISB no. 10404)         *Admitted pro hac vice
             WREST COLLECTIVE
             812 W. Franklin St.
             Boise, ID 83702                         Attorneys for Plaintiffs
             Tel: (208) 742-6789
             ritchie@wrest.coop
             casey@wrest.coop                        Additional counsel for Plaintiffs identified on
             david@wrest.coop                        the following page




                                       UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF IDAHO


             PAM POE, et al.,

                   Plaintiffs,                       Case No. 1:23-cv-00269-BLW

                                  v.                 PLAINTIFFS’ OPPOSITION TO
                                                     ATTORNEY GENERAL’S MOTION FOR
             RAÚL LABRADOR, et. al.,                 ENTRY OF PREVIOUSLY AGREED
                                                     UPON PROTECTIVE ORDER
                   Defendants.                       [DKT. NO. 95]




                                                                                         S.App.0001
(5 of 64), Page 5 of 64      Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 5 of 64
                      Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 2 of 17




             Eric Alan Stone*                       Jordan Orosz*
             Ariella C. Barel*                      PAUL, WEISS, RIFKIND, WHARTON &
             Kyle Bersani*                          GARRISON LLP
             GROOMBRIDGE, WU, BAUGHMAN AND          2001 K Street, NW
             STONE LLP                              Washington, DC 20006-1047
             565 5th Avenue, Suite 2900             Tel: (202) 223-7300
             New York, NY 10017                     jorosz@paulweiss.com
             Tel: (332) 269-0030
             eric.stone@groombridgewu.com
             ariella.barel@groombridgewu.com
             kyle.bersani@groombridgewu.com

             Philip S. May*                         Paul Carlos Southwick (ISB no. 12439)
             GROOMBRIDGE, WU, BAUGHMAN AND          Emily Myrei Croston (ISB no. 12389)
             STONE LLP                              ACLU OF IDAHO FOUNDATION
             801 17th St. NW, Suite 1050            P.O. Box 1897
             Washington, DC 20006                   Boise, ID 83701
             Tel: (202) 505-5830                    Tel: (208) 344-9750
             philip.may@groombridgewu.com           psouthwick@acluidaho.org
                                                    ecroston@acluidaho.org

             *Admitted pro hac vice                 Attorneys for Plaintiffs




                                                                                     S.App.0002
(6 of 64), Page 6 of 64      Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 6 of 64
                      Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 3 of 17




                                                            TABLE OF CONTENTS

            I.     INTRODUCTION ................................................................................................................ 1

            II.    FACTUAL BACKGROUND AND PROCEDURAL HISTORY ....................................... 2

            III.   LEGAL STANDARD .......................................................................................................... 4

            IV.    ARGUMENT ....................................................................................................................... 5

                   A.          No Changed Circumstances Justify Lifting the Stay .............................................. 6

                   B.          The Attorney General’s Justification for Entering a Protective Order During the
                               Pendency of the Appeal Is Erroneous ..................................................................... 7

                   C.          There Is No Urgent Reason to Lift the Stay to Grant the Attorney General’s
                               Requested Relief ................................................................................................... 10

            V.     CONCLUSION .................................................................................................................. 11




                                                                               i

                                                                                                                                    S.App.0003
(7 of 64), Page 7 of 64      Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 7 of 64
                      Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 4 of 17




                                                           TABLE OF AUTHORITIES

                                                                                                                                           Page(s)

            Cases

            Christian v. Commw. of N. Mariana Islands,
               No. 14-cv-00010, 2016 WL 406340 (D.N. Mar. I. Feb. 2, 2016)..........................................4, 8

            Chuman v. Wright,
               960 F.2d 104 (9th Cir. 1992) .................................................................................................4, 8

            CMAX Inc. v. Hall,
              300 F.2d 265 (9th Cir. 1962) .....................................................................................................4

            Coastal Corp. v. Tex. E. Corp.,
               869 F.2d 817 (5th Cir. 1989) .....................................................................................................9

            Griggs v. Provident Consumer Disc. Co.,
               459 U.S. 56 (1982) ....................................................................................................................8

            Hopkins v. Andaya,
               958 F.2d 881 (9th Cir. 1992), overruled on other grounds as stated in
               Federman v. County of Kern, 61 F. App’x 438 (9th Cir. 2003) ................................................7

            Johnson v. Inos,
               619 F. App’x 651 (9th Cir. 2015) (mem.)..................................................................................4

            Labrador v. Poe,
               No. 23A763, 601 U.S. ---, 2024 WL 1625724 (Apr. 15, 2024) (mem.) ....................................6

            McClatchy Newspapers v. Cent. Valley Typographical Union No. 46,
              686 F.2d 731 (9th Cir. 1982) .....................................................................................................8

            Nat. Res. Def. Council v. Sw. Marine Inc.,
               242 F.3d 1163 (9th Cir. 2001) ...............................................................................................8, 9

            Poe v. Labrador,
               No. 24-142 (9th. Cir.) ..............................................................................................................10

            Prudential Real Estate Affiliates, Inc. v. PPR Realty, Inc.,
               204 F.3d 867 (9th Cir. 2000) ...............................................................................................9, 10

            Pueblo of Pojoaque v. State,
               233 F. Supp. 3d 1021 (D.N.M. 2017) ......................................................................................10

            Sch. Dist. No. 1J, Multnomah Cnty. v. ACandS, Inc.,
               5 F.3d 1255 (9th Cir. 1993) .......................................................................................................7


                                                                                ii

                                                                                                                                     S.App.0004
(8 of 64), Page 8 of 64      Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 8 of 64
                      Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 5 of 17




            Small v. Operative Plasterers’ & Cement Masons’ Int’l Ass’n Loc. 200,
               611 F.3d 483 (9th Cir. 2010) .................................................................................................8, 9

            Tugaw Ranches, LLC v. U.S. Dep’t of Interior,
               No. 18-cv-159-DCN, 2020 WL 61282 (D. Idaho Jan. 6, 2020) ........................................4, 5, 6

            Other Authorities

            9th Cir. R. 3-3 ................................................................................................................................11

            9th Cir. R. 34-3 ..............................................................................................................................11

            Fed. R. Civ. P. 62 .............................................................................................................................8

            Fed. R. Civ. P. 62(c) ....................................................................................................................8, 9

            Fed. R. Civ. P. 62(d) ............................................................................................................5, 7, 8, 9




                                                                                   iii

                                                                                                                                            S.App.0005
(9 of 64), Page 9 of 64      Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 9 of 64
                      Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 6 of 17




                                                  I.    INTRODUCTION

                   Plaintiffs oppose the Attorney General’s motion to enter a protective order while the case

            is stayed and the preliminary injunction is on appeal at the Ninth Circuit. The Attorney General’s

            motion fails to engage with the legal standard for lifting a stay, fails to show changed

            circumstances, fails to identify a valid reason to enter a protective order during the pendency of

            his appeal, and fails to show any urgency to justify entering the protective order at this time.

                   The Attorney General’s motion for a protective order, which highlights for the Court that

            he will be filing a “motion to dissolve” the preliminary injunction, see Dkt. 95 at 3, foreshadows

            an attempt to improperly inject into the record confidential material from the World Professional

            Association for Transgender Health, Inc. (“WPATH”) that was known to the Attorney General

            during the briefing and argument regarding Plaintiffs’ preliminary injunction motion. The Court’s

            limited authority to modify an injunction that is the subject of an appeal does not allow for a motion

            to dissolve or vacate that injunction. And it is abundantly clear that no urgency exists here; the

            Attorney General has had this evidence for six months and has only recently advised this Court

            and Plaintiffs’ counsel that he had received documents from WPATH, despite prior representations

            that no documents would be produced by WPATH until a protective order was in place.

                   Simply put, the Attorney General, having received documents in response to a subpoena,

            chose to conceal that he had received the evidence and chose not to timely offer that evidence

            when opposing Plaintiffs’ preliminary injunction motion last fall. The Attorney General cannot

            now transform this six-month-old production into “new evidence” to justify lifting the stay,

            entering a protective order, and filing an impermissible “motion to dissolve” the preliminary

            injunction that is the subject of his appeal. The parties can address any issues regarding a

            protective order and further issues related to fact discovery after the Ninth Circuit rules on the

            Attorney General’s appeal and issues its mandate.



                                                                                                     S.App.0006
(10 of 64), Page 10 of 64  Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 10 of 64
                     Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 7 of 17




                        II.    FACTUAL BACKGROUND AND PROCEDURAL HISTORY

                   The timeline of the events leading to the Attorney General’s receipt of documents from

            WPATH and the briefing on Plaintiffs’ preliminary injunction motion are critical to a full

            understanding of the Attorney General’s motion.

                   Plaintiffs moved for a preliminary injunction on July 21, 2023, see Dkt. 32, pursuant to an

            agreed-upon briefing schedule, see Dkt. 27. Shortly thereafter, the Attorney General notified

            Plaintiffs that he would be issuing a subpoena for documents to WPATH, with a date of

            compliance of August 14, 2023. See Dkt. 95-3. The day after the date of compliance, the Attorney

            General notified Plaintiffs that WPATH had “commit[ted] to producing the documents” responsive

            to the subpoena “subject to the entry of a protective order.” Ex. A at 1 (8/15/23 email L. Wilson

            to L. Nowlin-Sohl) (emphasis added).1 Accordingly, the Attorney General asked Plaintiffs to

            consent to the entry of a protective order, and Plaintiffs provided a proposed markup of the order.

            See id. (8/19/23 email A. Korberg to L. Wilson). The Attorney General did not respond to

            Plaintiffs’ revisions for several weeks, finally responding only after he filed his opposition to

            Plaintiffs’ preliminary injunction motion.

                   After admitting that the Attorney General’s office had gotten “crossed wires” on the issue,

            the Attorney General resumed negotiations on the form of a protective order. See Ex. B at 14

            (9/7/23 email L. Wilson to P. May). Those conversations continued for several weeks, see id. at

            9–14 (various emails), and after agreeing to the form of a protective order on September 27, 2023,

            Plaintiffs asked the Attorney General: “Will you handle filing or would you like us to?” Id. at 9

            (9/27/23 email P. May to L. Wilson). The Attorney General never responded.


            1
             “Ex. __” refers to exhibits attached to the Declaration of Philip S. May in Support of Plaintiffs’
            Opposition to Attorney General’s Motion for Entry of Previously Agreed Upon Protective Order,
            submitted herewith.

                                                            2

                                                                                                  S.App.0007
(11 of 64), Page 11 of 64  Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 11 of 64
                     Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 8 of 17




                   Unbeknownst to Plaintiffs, on October 3, 2023, the Attorney General received production

            of documents from WPATH responsive to the subpoena. See Dkt. 95 at 2. On October 3, 2023,

            the parties were still actively briefing Plaintiffs’ preliminary injunction motion and a hearing on

            the motion was still over a month away. Plaintiffs filed a reply in support of their motion on

            October 13, see Dkt. 70, the Attorney General filed a sur-reply in opposition to Plaintiffs’ motion

            on October 27, see Dkt. 71, and the Court heard oral argument on both Plaintiffs’ motion and the

            Attorney General’s own motion to dismiss based on Eleventh Amendment sovereign immunity on

            November 6, see Dkt. 75, 76. The Court granted Plaintiffs’ preliminary injunction motion and

            denied the Attorney General’s motion to dismiss in a written opinion and order on December 26,

            2023. See Dkt. 78. At no point while the motions were being briefed, argued, or considered by

            the Court did the Attorney General advise either the Court or Plaintiffs that the Attorney General

            had received evidence that he believed would bear on Plaintiffs’ motion.

                   Indeed, Plaintiffs did not find out about this production until almost six months later on

            March 26, 2024. See Ex. B at 6–7 (3/26/24 email R. Droz to P. May). It was only when the

            Attorney General—seemingly out of nowhere—requested that the parties agree to enter a

            protective order that the Attorney General finally informed Plaintiffs that WPATH made a

            production and advised that he “intend[ed] to use some of those documents in connection with a

            sealed motion to dissolve the preliminary injunction.” Id. But even though the Attorney General

            received these documents without a protective order in place, the Attorney General refused—and

            continues to refuse—to produce any of the documents from WPATH without this Court entering

            a protective order. See id. at 5 (3/26/24 email R. Droz to P. May). It was only after several further

            inquiries and a meet-and-confer that the Attorney General even confirmed to Plaintiffs that the

            WPATH documents had been produced back on October 3, 2023. See id. at 3 (3/27/24 email J.



                                                             3

                                                                                                    S.App.0008
(12 of 64), Page 12 of 64  Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 12 of 64
                     Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 9 of 17




            Craig to P. May). His office told Plaintiffs’ counsel that it took them nearly six months just to

            review all of these documents, all while Plaintiffs’ counsel did not even know they existed. Id. at

            2 (3/28/24 email P. May to J. Craig).

                   After the Court granted Plaintiffs’ motion for a preliminary injunction and denied the

            Attorney General’s motion to dismiss, the Attorney General noticed an appeal of both decisions,

            see Dkt. 79, and moved on an emergency basis to stay the injunction pending appeal, see Dkt. 80.

            In the Attorney General’s supporting memorandum for the emergency stay, he told the Court that

            “[t]he appeal of the Court’s decision regarding the Eleventh Amendment immunity issue divests

            this Court of authority to conduct further proceedings.” Dkt. 80-1 at 2 (citing Chuman v. Wright,

            960 F.2d 104, 105 (9th Cir. 1992), and Christian v. Commw. of N. Mariana Islands, No. 14-cv-

            00010, 2016 WL 406340, at *2 (D.N. Mar. I. Feb. 2, 2016)). The Court denied this motion.

            Dkt. 88. The other principal defendant in this action, the Ada County Prosecuting Attorney, did

            not notice an appeal. On January 31, 2024, Plaintiffs, the Attorney General, and the Ada County

            Prosecuting Attorney all agreed to the entry of a stay of proceedings in this case while the Attorney

            General’s appeal was pending, long after the Attorney General had received the WPATH

            documents. See Dkt. 94.

                                              III.    LEGAL STANDARD

                   “In imposing or lifting a stay, courts weigh the ‘hardship or inequity’ to the parties and ‘the

            orderly course of justice measured in terms of the simplifying or complicating of issues, proof, and

            questions of law which could be expected to result from a stay.’” Tugaw Ranches, LLC v. U.S.

            Dep’t of Interior, No. 18-cv-159-DCN, 2020 WL 61282, at *1 (D. Idaho Jan. 6, 2020) (quoting

            CMAX Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962)). Further, it is appropriate for the Court to

            require a showing of “changed circumstances” as a prerequisite for lifting the stay. See Johnson

            v. Inos, 619 F. App’x 651 (9th Cir. 2015) (mem.).
                                                             4

                                                                                                     S.App.0009
(13 of 64), Page 13 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 13 of 64
                     Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 10 of 17




                                                    IV.     ARGUMENT

                   The Attorney General fails to identify the legal standard that would allow the Court to lift

            the stay here, let alone attempt to meet that standard. And whatever justification the Attorney

            General does offer is utterly insufficient under the law.

                   No changed circumstances justify lifting the stay to allow the Attorney General’s motion.

            Further, the Attorney General’s proffered justification of needing the protective order in order to

            file a “motion to dissolve” pursuant to Rule 62(d) is erroneous, see Dkt. 95 at 3, as a motion to

            dissolve the preliminary injunction is not permitted under Rule 62(d) while that preliminary

            injunction is on appeal. What the Attorney General is really doing is surreptitiously attempting to

            improperly expand the scope of the trial court record while there is a pending appeal of the

            preliminary injunction. Lifting the stay now to permit for the entry of a protective order to facilitate

            briefing on a procedurally impermissible motion, injecting an untold number of documents—that

            Plaintiffs have yet to see but that counsel for the Attorney General said took them nearly six months

            to review, see Ex. B at 2 (3/28/24 email P. May to J. Craig)—would disrupt “the orderly course of

            justice.” Tugaw Ranches, 2020 WL 61282, at *1.

                   The Court should deny the motion and wait to entertain the Attorney General’s motion

            until after the Ninth Circuit issues its mandate on his appeal. Once the appeal of the preliminary

            injunction is resolved, the parties can proceed with full discovery and ultimately a trial on the

            merits where all of the Attorney General’s defenses to Plaintiffs’ claims can be fully explored and

            adjudicated.




                                                                                                       S.App.0010
(14 of 64), Page 14 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 14 of 64
                     Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 11 of 17




                   A.      No Changed Circumstances Justify Lifting the Stay

                   As relevant to the Attorney General’s motion, the facts of this case are today as they were

            when the Court ordered a preliminary injunction.2 “The purpose of the stay in this case has yet to

            be accomplished. No circumstances have changed.” Tugaw Ranches, 2020 WL 61282, at *1. As

            detailed above, the evidence from WPATH that the Attorney General references in his motion has

            been in the Attorney General’s possession since October 3, 2023—nearly six months before the

            Attorney General reached out to Plaintiffs about the present motion, three weeks before the

            Attorney General submitted his final brief regarding Plaintiffs’ preliminary injunction motion, and

            more than a month before the Court held a hearing on the then-pending motions. The Attorney

            General’s decision to suddenly inform Plaintiffs and the Court of the evidence is not a changed

            circumstance that can justify lifting the stay.

                   If the Attorney General truly believed that the evidence from WPATH was of such

            importance and gravity that it justifies dissolution of this Court’s preliminary injunction order

            before a reviewing court has had the opportunity to weigh in, the Attorney General should have

            notified both this Court and Plaintiffs’ counsel when the evidence was first received. Instead, the

            Attorney General sat on the evidence for six months, only to then inform Plaintiffs that he intended

            to “use some of [the WPATH documents] in connection with a sealed motion to dissolve the

            preliminary injunction.” Ex. B at 6 (3/26/23 email R. Droz to P. May).




            2
              The Supreme Court recently issued an order narrowing the injunction to just the named plaintiffs.
            See Labrador v. Poe, No. 23A763, 601 U.S. ---, 2024 WL 1625724 (Apr. 15, 2024) (mem.). That
            order does not constitute a changed circumstance for the purposes of the Attorney General’s
            forthcoming motion, which seeks to lift the stay in order to file a motion to dissolve the preliminary
            injunction that currently protects Plaintiffs. Plaintiffs reserve all rights to argue that the Supreme
            Court’s order may constitute a changed circumstance for purposes other than lifting the stay in
            order to permit the filing of a motion to dissolve the injunction.



                                                                                                     S.App.0011
(15 of 64), Page 15 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 15 of 64
                     Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 12 of 17




                    This is hardly “new evidence” as the Attorney General has contended. See Ex. C at 2

            (4/3/24 email J. Craig to M. Smith). “[T]he failure to file documents in an original motion or

            opposition does not turn the late filed documents into ‘newly discovered evidence.’” Sch. Dist.

            No. 1J, Multnomah Cnty. v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993); see also Hopkins v.

            Andaya, 958 F.2d 881, 887 n.5 (9th Cir. 1992) (“A defeated litigant cannot set aside a judgment

            because he failed to present on a motion for summary judgment all the facts known to him that

            might have been useful to the court.”), overruled on other grounds as stated in Federman v. County

            of Kern, 61 F. App’x 438, 440 (9th Cir. 2003).

                    In short, the only developments since the entry of the stay are (1) the Attorney General has

            had more time to review the documents it received from WPATH, and (2) the Attorney General

            has finally informed Plaintiffs’ counsel and the Court that it received documents from WPATH.

            Neither constitutes a changed circumstance, and neither justifies lifting the stay. Absent this

            preliminary showing, the Court should deny the motion to enter a protective order while the case

            is stayed.

                    B.     The Attorney General’s Justification for Entering a Protective Order During
                           the Pendency of the Appeal Is Erroneous

                    The Attorney General justifies needing a protective order right now on the basis that he

            “intends to file a motion with the Court under Fed. R. Civ. P. 62(d) to dissolve the preliminary

            injunction” and will be relying on the WPATH documents. Dkt. 95 at 3. However, there is no

            such motion allowed under Rule 62(d) given that jurisdiction over the preliminary injunction has

            passed to the Court of Appeals by the nature of the Attorney General’s appeal. Instead, it seems

            that the Attorney General would use this procedurally infirm motion to bring the WPATH

            documents into the trial court record now during the pendency of his appeal of the preliminary




                                                                                                   S.App.0012
(16 of 64), Page 16 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 16 of 64
                     Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 13 of 17




            injunction. Moreover, the WPATH documents can hardly be considered “new evidence” when

            they have been in the Attorney General’s possession for more than six months, as detailed above.

                   First, it is beyond dispute that the Attorney General’s appeal has divested this court of

            jurisdiction for matters that are on appeal. “The filing of a notice of appeal is an event of

            jurisdictional significance—it confers jurisdiction on the court of appeals and divests the district

            court of its control over those aspects of the case involved in the appeal.” Griggs v. Provident

            Consumer Disc. Co., 459 U.S. 56, 58 (1982) (per curiam); see also Small v. Operative Plasterers’

            & Cement Masons’ Int’l Ass’n Loc. 200, 611 F.3d 483, 495 (9th Cir. 2010).3

                   Second, the Attorney General’s contemplated motion is procedurally infirm. Although

            Rule 62(d)4 presents an exception to the general rule divesting the district court of jurisdiction over

            matters on appeal, it is limited: “[t]he district court retains jurisdiction during the pendency of an

            appeal to act to preserve the status quo.” Nat. Res. Def. Council v. Sw. Marine Inc., 242 F.3d

            1163, 1166 (9th Cir. 2001) (citations omitted) (emphasis added). As the Ninth Circuit has held,

            Rule 62(d) “grants the district court no broader power than it has always inherently possessed to

            preserve the status quo during the pendency of an appeal; it ‘does not restore jurisdiction to the

            district court to adjudicate anew the merits of the case.’” Id. (quoting McClatchy Newspapers v.

            Cent. Valley Typographical Union No. 46, 686 F.2d 731, 734 (9th Cir. 1982)). The court further


            3
              In addition, the Attorney General noticed an appeal of the Court’s denial of his motion to dismiss
            based on Eleventh Amendment sovereign immunity, Dkt. 79, and argued that an interlocutory
            appeal dealing with Eleventh Amendment sovereign immunity “divests this Court of authority to
            conduct further proceedings.” Dkt. 80-1 at 2 (citing Chuman, 960 F.2d at 105; Christian, 2016
            WL 406340, at *2). Although the Attorney General’s argument with respect to the Eleventh
            Amendment and its effect on this Court’s jurisdiction is undermined by the fact that he makes no
            mention of the Eleventh Amendment or sovereign immunity in any of his briefs on appeal, he fails
            to address—let alone reconcile—this alleged divestment of jurisdiction with his current motion.
            4
              The provisions of Rule 62(d) were identified as Rule 62(c) prior to a 2018 reorganization of the
            Rule. See Fed. R. Civ. P. 62, Committee Notes to 2018 Amendment. References in case law prior
            to 2018 to Rule 62(c) apply now to Rule 62(d).



                                                                                                      S.App.0013
(17 of 64), Page 17 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 17 of 64
                     Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 14 of 17




            cautioned that “any action taken pursuant to Rule 62(c) may not materially alter the status of the

            case on appeal.” Id. (internal quotation marks and citation omitted); see also Small, 611 F.3d at

            495. And the law is clear that the relevant “status quo” is the status quo at the time of the appeal.

            See, e.g., Small, 611 F.3d at 495 (reversing a modification to a preliminary injunction that

            expanded the rights of the appellant during the appeal); Sw. Marine, 242 F.3d at 1166–67, 1169

            (affirming a modification to an injunction that preserved “[t]he status quo as of the filing of

            [appellant]’s consolidated appeal” where the modifications clarified the injunction and “did not

            materially alter the status of the consolidated appeal”).

                   Yet this is precisely what the Attorney General indicates he will be doing—asking this

            Court to “adjudicate anew the merits” of the preliminary injunction and thus “materially alter the

            status of the case on appeal.” Nothing could more materially alter the status of the appeal at the

            Ninth Circuit than a dissolution of the preliminary injunction being appealed. See Prudential Real

            Estate Affiliates, Inc. v. PPR Realty, Inc., 204 F.3d 867, 880 (9th Cir. 2000) (affirming “the district

            court’s decision that it lacked jurisdiction to consider [appellant’s] motion to vacate the

            preliminary injunction”).

                   Finally, Rule 62(d) does not allow for a motion to “dissolve” an injunction. Rule 62(d)

            gives the court the limited authority to “suspend, modify, restore, or grant” an injunction while

            there is an appeal from “an interlocutory order or final judgment that grants, continues, modifies,

            refuses, dissolves, or refuses to dissolve or modify an injunction.” See Fed. R. Civ. P. 62(d)

            (emphasis added). The use of “‘suspend’ rather than ‘dissolve’” with respect to the Court’s

            authority to modify an injunction pending appeal speaks volumes, as “[t]he drafters were obviously

            aware of the distinction between a suspension and a dissolution, as they had spoken to dissolutions

            just one line before.” Coastal Corp. v. Tex. E. Corp., 869 F.2d 817, 819 (5th Cir. 1989) (cited with




                                                                                                      S.App.0014
(18 of 64), Page 18 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 18 of 64
                     Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 15 of 17




            approval in Prudential Real Estate, 204 F.3d at 880); see also Pueblo of Pojoaque v. State, 233 F.

            Supp. 3d 1021, 1091 (D.N.M. 2017) (“[T]he pendency of an interlocutory appeal from a PI divests

            the court of its jurisdiction to vacate or dissolve the injunction.”). And even if this motion were

            somehow permitted, the Attorney General has no basis for moving to dissolve the injunction based

            on “new evidence” for the reasons discussed above. See Section IV.A, supra.

                   Lifting the stay now to enter a protective order to facilitate the Attorney General filing this

            procedurally impermissible motion would not promote the orderly course of justice in terms of

            simplifying the issues. Instead, it would just allow the Attorney General to file his motion with a

            large volume of sealed materials attached to relitigate the preliminary injunction while his appeal

            remains pending at the Ninth Circuit.

                   C.      There Is No Urgent Reason to Lift the Stay to Grant the Attorney General’s
                           Requested Relief

                   Finally, despite the breathless nature of the Attorney General’s motion, there is no urgency

            to enter this protective order, which this Court has already recognized in denying the Attorney

            General’s embedded request to expedite briefing. See Dkt. 97 at 2 (“Nothing persuades the Court

            that this is an urgent matter.”). The Attorney General’s purported basis for urgency during the

            parties’ meet-and-confer was that the Attorney General wants to enforce H.B. 71. This, however,

            has been the Attorney General’s position since the outset of this litigation and does not provide

            any new basis for urgency now.

                   As explained above, the Attorney General has had the WPATH documents for more than

            six months at this point. The parties have fully briefed the Attorney General’s appeal at the Ninth

            Circuit and should have an answer on the appeal in a matter of months. The appeal is slated to be

            set for oral argument in either July or August 2024. See Ex. D (Poe v. Labrador, No. 24-142 (9th.

            Cir.) docket) at Dkt. 53. And the Ninth Circuit rules give priority to appeals of preliminary




                                                                                                     S.App.0015
(19 of 64), Page 19 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 19 of 64
                     Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 16 of 17




            injunctions. See 9th Cir. R. 3-3, 34-3. The parties should await the mandate and return of

            jurisdiction to this Court before proceeding further.

                                                    V.    CONCLUSION

                      The Attorney General fails to meet the standard to justify lifting the stay in this case to

            enter a protective order. Plaintiffs respectfully request that the Court deny the motion without

            prejudice to be entertained once the Ninth Circuit has issued its mandate on the Attorney General’s

            appeal.



             Dated April 19, 2024                               Respectfully submitted,

                                                                /s/ Richard Eppink
                                                                Richard Eppink


            Li Nowlin-Sohl                                      Brad S. Karp
            (admitted only in Washington)                       Alexia D. Korberg
            Leslie Cooper                                       Jackson Yates
            AMERICAN CIVIL LIBERTIES UNION                      Dana L. Kennedy
            FOUNDATION                                          PAUL, WEISS, RIFKIND, WHARTON &
            125 Broad St.                                       GARRISON LLP
            New York, NY 10004                                  1285 Avenue of the Americas
            Tel: (212) 549-2584                                 New York, NY 10019
            lnowlin-sohl@aclu.org                               Tel: (212) 373-3000
            lcooper@aclu.org                                    bkarp@paulweiss.com
                                                                akorberg@paulweiss.com
                                                                jyates@paulweiss.com
             Richard Eppink (ISB no. 7503)                      dkennedy@paulweiss.com
             Casey Parsons (ISB no. 11323)
             David A. DeRoin (ISB no. 10404)                    Jordan Orosz
             WREST COLLECTIVE                                   PAUL, WEISS, RIFKIND, WHARTON &
             812 W. Franklin St.                                GARRISON LLP
             Boise, ID 83702                                    2001 K Street, NW
             Tel: (208) 742-6789                                Washington, DC 20006-1047
             ritchie@wrest.coop                                 Tel: (202) 223-7300
             casey@wrest.coop                                   jorosz@paulweiss.com
             david@wrest.coop




                                                                                                    S.App.0016
(20 of 64), Page 20 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 20 of 64
                     Case 1:23-cv-00269-BLW Document 99 Filed 04/19/24 Page 17 of 17




            Eric Alan Stone                         Paul Carlos Southwick (ISB no. 12439)
            Ariella C. Barel                        Emily Myrei Croston (ISB no. 12389)
            Kyle Bersani                            ACLU OF IDAHO FOUNDATION
            GROOMBRIDGE, WU, BAUGHMAN AND           P.O. Box 1897
            STONE LLP                               Boise, ID 83701
            565 5th Avenue, Suite 2900              Tel: (208) 344-9750
            New York, NY 10017                      psouthwick@acluidaho.org
            Tel: (332) 269-0030                     ecroston@acluidaho.org
            eric.stone@groombridgewu.com
            ariella.barel@groombridgewu.com         Attorneys for Plaintiffs
            kyle.bersani@groombridgewu.com

            Philip S. May
            GROOMBRIDGE, WU, BAUGHMAN AND
            STONE LLP
            801 17th St. NW, Suite 1050
            Washington, DC 20006
            Tel: (202) 505-5830
            philip.may@groombridgewu.com




                                                                                     S.App.0017
(21 of 64), Page 21 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 21 of 64
                     Case 1:23-cv-00269-BLW Document 99-1 Filed 04/19/24 Page 1 of 3




            Li Nowlin-Sohl*                          Brad S. Karp*
            (admitted only in Washington)            Alexia D. Korberg*
            Leslie Cooper*                           Jackson Yates*
            AMERICAN CIVIL LIBERTIES UNION           Dana L. Kennedy*
            FOUNDATION                               PAUL, WEISS, RIFKIND, WHARTON &
            125 Broad St.                            GARRISON LLP
            New York, NY 10004                       1285 Avenue of the Americas
            Tel: (212) 549-2584                      New York, NY 10019
            lnowlin-sohl@aclu.org                    Tel: (212) 373-3000
            lcooper@aclu.org                         bkarp@paulweiss.com
                                                     akorberg@paulweiss.com
                                                     jyates@paulweiss.com
             Richard Eppink (ISB no. 7503)           dkennedy@paulweiss.com
             Casey Parsons (ISB no. 11323)
             David A. DeRoin (ISB no. 10404)         *Admitted pro hac vice
             WREST COLLECTIVE
             812 W. Franklin St.
             Boise, ID 83702                         Attorneys for Plaintiffs
             Tel: (208) 742-6789
             ritchie@wrest.coop
             casey@wrest.coop                        Additional counsel for Plaintiffs identified on
             david@wrest.coop                        the following page




                                       UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF IDAHO


             PAM POE, et al.,
                                                     Case No. 1:23-cv-00269-BLW
                   Plaintiffs,
                                                     DECLARATION OF PHILIP S. MAY IN
                                  v.                 SUPPORT OF PLAINTIFFS’
                                                     OPPOSITION TO ATTORNEY
             RAÚL LABRADOR, et. al.,                 GENERAL’S MOTION FOR ENTRY OF
                                                     PREVIOUSLY AGREED UPON
                   Defendants.                       PROTECTIVE ORDER




                                                                                         S.App.0018
(22 of 64), Page 22 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 22 of 64
                     Case 1:23-cv-00269-BLW Document 99-1 Filed 04/19/24 Page 2 of 3




             Eric Alan Stone*                       Jordan Orosz*
             Ariella C. Barel*                      PAUL, WEISS, RIFKIND, WHARTON &
             Kyle Bersani*                          GARRISON LLP
             GROOMBRIDGE, WU, BAUGHMAN AND          2001 K Street, NW
             STONE LLP                              Washington, DC 20006-1047
             565 5th Avenue, Suite 2900             Tel: (202) 223-7300
             New York, NY 10017                     jorosz@paulweiss.com
             Tel: (332) 269-0030
             eric.stone@groombridgewu.com
             ariella.barel@groombridgewu.com
             kyle.bersani@groombridgewu.com

             Philip S. May*                         Paul Carlos Southwick (ISB no. 12439)
             GROOMBRIDGE, WU, BAUGHMAN AND          Emily Myrei Croston (ISB no. 12389)
             STONE LLP                              ACLU OF IDAHO FOUNDATION
             801 17th St. NW, Suite 1050            P.O. Box 1897
             Washington, DC 20006                   Boise, ID 83701
             Tel: (202) 505-5830                    Tel: (208) 344-9750
             philip.may@groombridgewu.com           psouthwick@acluidaho.org
                                                    ecroston@acluidaho.org

             *Admitted pro hac vice                 Attorneys for Plaintiffs




                                                                                     S.App.0019
(23 of 64), Page 23 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 23 of 64
                     Case 1:23-cv-00269-BLW Document 99-1 Filed 04/19/24 Page 3 of 3




            I, Philip S. May, hereby declare as follows:

                     1.     I am an attorney with the law firm Groombridge, Wu, Baughman and Stone LLP,

            counsel of record for Plaintiffs Pam Poe, Penny Poe, Peter Poe, Jane Doe, Joan Doe, and John

            Doe. I am attorney-at-law in good standing in the District of Columbia, the State of New York,

            and the State of New Jersey and have been admitted pro hac vice in this Court for this action. The

            following is true of my own personal knowledge, and, if called as a witness, I would and could

            testify competently thereto.

                     2.     Attached hereto as Exhibit A is a true and correct copy of an excerpt of an email

            chain with a last email dated Saturday, August 19, 2023, among counsel for the parties in this

            litigation.

                     3.     Attached hereto as Exhibit B is a true and correct copy of an email chain with a last

            email dated Friday, March 29, 2024, among counsel for the parties in this litigation.

                     4.     Attached hereto as Exhibit C is a true and correct copy of an email chain with a last

            email dated Wednesday, April 3, 2024, among counsel for the parties in this litigation and the

            Court.

                     5.      Attached hereto as Exhibit D is a true and correct copy of an excerpt of the docket

            sheet for Poe v. Labrador, No. 24-142 (9th Cir.), as obtained from the court’s electronic filing

            system on April 19, 2024.



                     I declare under penalty of perjury that the foregoing is true and correct. Executed this 19th

            day of April, 2024, in Washington, DC.

                                                                   s/ Philip S. May
                                                                   Philip S. May, Esq.
                                                                   Counsel for Plaintiffs




                                                                                                     S.App.0020
(24 of 64), Page 24 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 24 of 64
                     Case 1:23-cv-00269-BLW Document 99-2 Filed 04/19/24 Page 1 of 3




                                    EXHIBIT A




                                                                                 S.App.0021
(25 of 64), Page 25 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 25 of 64
                     Case 1:23-cv-00269-BLW Document 99-2 Filed 04/19/24 Page 2 of 3


             From:               Korberg, Alexia D
             To:                 Lincoln Wilson; lnowlin-sohl@aclu.org; ritchie@wrest.coop; Heather McCarthy; Josh Turner;
                                 dreed@adacounty.id.gov
             Cc:                 Eric Stone; LCOOPER@aclu.org
             Subject:            RE: Draft Stipulation and Proposed Order
             Date:               Saturday, August 19, 2023 5:50:20 PM
             Attachments:        image008.png
                                 image009.png
                                 image010.png
                                 image011.png
                                 image012.png
                                 image013.png
                                 image014.png
                                 image015.png
                                 Poe v Labrador -- Protective Order_DRAFT 8-17.docx


             Hi Lincoln,

             Given the sensitive nature of some of the documents that may be produced in this case, we would
             like to add a highly confidential designation. See attached for a proposed markup to the model
             order that does that.

             Best,

             Alexia

             Alexia D. Korberg | Partner (Bio)
             Paul, Weiss, Rifkind, Wharton & Garrison LLP
             1285 Avenue of the Americas | New York, NY 10019-6064
             212 373 3782 (Direct Phone) | 212 492 0782 (Direct Fax)
             akorberg@paulweiss.com | www.paulweiss.com
             Pronouns: They/Them


             From: Lincoln Wilson <Lincoln.Wilson@ag.idaho.gov>
             Sent: Tuesday, August 15, 2023 9:01 AM
             To: lnowlin-sohl@aclu.org; ritchie@wrest.coop; Heather McCarthy <hmccarthy@adacounty.id.gov>;
             Josh Turner <josh.turner@ag.idaho.gov>; dreed@adacounty.id.gov
             Cc: eric.stone@groombridgewu.com; Korberg, Alexia D <akorberg@paulweiss.com>;
             LCOOPER@aclu.org
             Subject: RE: Draft Stipulation and Proposed Order

             Hi Li,

             We received responses and objections to our subpoena from WPATH that commit to producing the documents they
             produced in the Alabama litigation subject to entry of a protective order. To get that process going, I wanted to see
             if you had any objections to the District of Idaho’s model protective order, which I’ve attached here. Subject to any
             edits you have, we can get this submitted to the Court for entry to facilitate production.

             Thanks very much,




                                                                            1                                                S.App.0022
(26 of 64), Page 26 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 26 of 64
                     Case 1:23-cv-00269-BLW Document 99-2 Filed 04/19/24 Page 3 of 3


                                                                                                                                                                                                                                   Lincoln Davis Wilson | Division Chief
                                                                                                                                                                                                                                   Civil Litigation and Constitutional Defense
                                                                                                                                                                                                                                   Office of the Attorney General | State of Idaho
                                                                                                                                                                                                                                   M: 208-809-1077 | W: ag.idaho.gov




             From: Li Nowlin-Sohl <lnowlin-sohl@aclu.org>
             Sent: Friday, August 11, 2023 1:58 PM
             To: Lincoln Wilson <Lincoln.Wilson@ag.idaho.gov>; External- Ritchie Eppink <ritchie@wrest.coop>;
             Heather McCarthy <hmccarthy@adacounty.id.gov>; Josh Turner <josh.turner@ag.idaho.gov>;
             dreed@adacounty.id.gov
             Cc: Eric Stone <eric.stone@groombridgewu.com>; 'Korberg, Alexia D' <akorberg@paulweiss.com>;
             Leslie Cooper <LCOOPER@aclu.org>
             Subject: RE: Draft Stipulation and Proposed Order

             Lincoln,
             Sorry about that oversight on our part. We are working to get an errata on file that includes the CVs,
             but may not be able to complete it until next week. In the meantime, attached are the CVs of Dr.
             Connelly and Dr. Brady.

             Li

             From: Lincoln Wilson <Lincoln.Wilson@ag.idaho.gov>
             Sent: Thursday, August 10, 2023 1:59 PM
             To: Li Nowlin-Sohl <lnowlin-sohl@aclu.org>; External- Ritchie Eppink <ritchie@wrest.coop>; Heather
             McCarthy <hmccarthy@adacounty.id.gov>; Josh Turner <josh.turner@ag.idaho.gov>;
             dreed@adacounty.id.gov
             Cc: Eric Stone <eric.stone@groombridgewu.com>; 'Korberg, Alexia D' <akorberg@paulweiss.com>;
             Leslie Cooper <LCOOPER@aclu.org>
             Subject: RE: Draft Stipulation and Proposed Order
             Li, One quick follow-up from our call: the declarations from Dr. Connelly and Dr. Brady say that their CVs are attached, but we appear to be missing those. Could you send them over? Thanks, Lincoln Davis Wilson | Division Chief Civil Litigation




             Li,

             One quick follow-up from our call: the declarations from Dr. Connelly and Dr. Brady say that their
             CVs are attached, but we appear to be missing those. Could you send them over?

             Thanks,



                                                                                                                                                                                                                                   Lincoln Davis Wilson | Division Chief
                                                                                                                                                                                                                                   Civil Litigation and Constitutional Defense
                                                                                                                                                                                                                                   Office of the Attorney General | State of Idaho
                                                                                                                                                                                                                                   M: 208-809-1077 | W: ag.idaho.gov




                                                                                                                                                                                                                                                                         2           S.App.0023
(27 of 64), Page 27 of 64  Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 27 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 1 of 18




                                    EXHIBIT B




                                                                                S.App.0024
(28 of 64), Page 28 of 64  Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 28 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 2 of 18


             From:               James Craig
             To:                 Philip May; Rafael Droz
             Cc:                 Li Nowlin-Sohl; dreed@adacounty.id.gov; External- Ritchie Eppink; Heather McCarthy; Eric Stone; Korberg, Alexia
                                 D; Leslie Cooper; John Ramer; Brian Barnes; David Thompson; Laura Kauffmann; Chyvonne Tiedemann; Alan
                                 Hurst
             Subject:            RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry
             Date:               Friday, March 29, 2024 7:37:06 PM
             Attachments:        image001.png
                                 WPATH - Production Cover Letter 10_3_23.pdf



             Philip,

             Thank you for the quick review and response. I want to address two things. First, we are not
             refusing to provide you with the documents we received in response to the subpoena that we
             issued to WPATH. As we made clear on the phone, we are happy to provide the documents to
             you as soon as the Court issues a protective order in this case. Second, to address your
             suggestion/speculation that the Attorney General’s office is acting improperly and may be
             violating the orders of another case, the WPATH documents were provided to us in response
             to subpoenas issued in two different cases, both this case and in the Roe case. They were
             marked confidential by WPATH in accordance with the protective order issued in Roe and in
             accordance with what all anticipated at the time would be the soon to be issued protective
             order in Poe. I have attached a copy of the cover letter that was sent to us in response to the
             subpoenas.

             I hope you have a good weekend.

             Thanks,

             Jim Craig

                            James E. M. Craig | Division Chief
                            Civil Litigation and Constitutional Defense
                            Office of the Attorney General | State of Idaho
                            O: 208-854-8088 | W: ag.idaho.gov



             From: Philip May <philip.may@groombridgewu.com>
             Sent: Thursday, March 28, 2024 4:37 PM
             To: James Craig <James.Craig@ag.idaho.gov>; Rafael Droz <Rafael.Droz@ag.idaho.gov>
             Cc: Li Nowlin-Sohl <lnowlin-sohl@aclu.org>; dreed@adacounty.id.gov; External- Ritchie Eppink
             <ritchie@wrest.coop>; Heather McCarthy <hmccarthy@adacounty.id.gov>; Eric Stone
             <eric.stone@groombridgewu.com>; Korberg, Alexia D <akorberg@paulweiss.com>; Leslie Cooper
             <LCOOPER@aclu.org>; John Ramer <jramer@cooperkirk.com>; Brian Barnes
             <BBarnes@cooperkirk.com>; David Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
             <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann <ctiedemann@adacounty.id.gov>; Alan
             Hurst <Alan.Hurst@ag.idaho.gov>
             Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry


                                                                            1                                                    S.App.0025
(29 of 64), Page 29 of 64  Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 29 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 3 of 18



             Counsel,

             Thank you for providing a draft. At this time, we cannot agree to your proposed joint motion and will
             be opposing your motion to enter a protective order.

             Regarding the WPATH production, we have serious concerns regarding your refusal to provide us
             with the WPATH documents that you have had in your possession since October 3, and which form
             the apparent basis for the new emergency relief you now plan to request. If you received those
             documents from WPATH without a protective order in this case, the fact that we still do not have a
             protective order in this case provides no basis to deny us access to the documents on an attorneys’
             eyes basis. To the extent you are relying on a protective order from a different case or to the extent
             you received the WPATH documents in a different case—presumably the Roe v. Critchfield­ you
             referenced on our call—such use here would be improper under the terms of the Roe protective
             order, which makes clear that “[u]se of any information or documents labeled ‘Confidential’ and
             subject to this Protective Order, including all information derived therefrom, shall be restricted
             solely to the litigation of this case and shall not be used by any party for any other purpose.”
             Stipulated Protective Order, Roe v. Critchfield, No. 23-cv-315-DCN, D.I. 46-1, ¶ 1 (D. Idaho Aug. 22,
             2023) (emphases added).

             We again request that the AG make immediate production of the documents in its possession from
             WPATH, notice of the existence of which you only provided us with this week. The delay here is
             particularly inexcusable and prejudicial given the fact that you informed us on our March 27 meet
             and confer that the reason that half a year has elapsed between your receipt of the WPATH
             documents on October 3 to now, when you plan to file a motion to dissolve the preliminary
             injunction based on those documents, is because it took you that long to review the WPATH
             production in light of how voluminous it is. It stands to reason that it would take Plaintiffs a similar
             length of time to review the very same materials.

             Regards,
             Philip


             Philip S. May
             Groombridge, Wu, Baughman & Stone LLP
             801 17th St NW, Suite 1050
             Washington, DC 20006
             202-539-6620 (O) | 202-577-2199 (M)
             philip.may@groombridgewu.com
             Pronouns: He/Him/His




             From: James Craig <James.Craig@ag.idaho.gov>
             Sent: Wednesday, March 27, 2024 10:33 PM


                                                                 2                                        S.App.0026
(30 of 64), Page 30 of 64  Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 30 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 4 of 18


             To: Philip May <philip.may@groombridgewu.com>; Rafael Droz <Rafael.Droz@ag.idaho.gov>
             Cc: Li Nowlin-Sohl <lnowlin-sohl@aclu.org>; dreed@adacounty.id.gov; External- Ritchie Eppink
             <ritchie@wrest.coop>; Heather McCarthy <hmccarthy@adacounty.id.gov>; Eric Stone
             <eric.stone@groombridgewu.com>; Korberg, Alexia D <akorberg@paulweiss.com>; Leslie Cooper
             <LCOOPER@aclu.org>; John Ramer <jramer@cooperkirk.com>; Brian Barnes
             <BBarnes@cooperkirk.com>; David Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
             <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann <ctiedemann@adacounty.id.gov>; Alan
             Hurst <Alan.Hurst@ag.idaho.gov>
             Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

             October 3, 2023

                         James E. M. Craig | Division Chief
                         Civil Litigation and Constitutional Defense
                         Office of the Attorney General | State of Idaho
                         O: 208-854-8088 | W: ag.idaho.gov



             From: Philip May <philip.may@groombridgewu.com>
             Sent: Wednesday, March 27, 2024 8:13 PM
             To: James Craig <James.Craig@ag.idaho.gov>; Rafael Droz <Rafael.Droz@ag.idaho.gov>
             Cc: Li Nowlin-Sohl <lnowlin-sohl@aclu.org>; dreed@adacounty.id.gov; External- Ritchie Eppink
             <ritchie@wrest.coop>; Heather McCarthy <hmccarthy@adacounty.id.gov>; Eric Stone
             <eric.stone@groombridgewu.com>; Korberg, Alexia D <akorberg@paulweiss.com>; Leslie Cooper
             <LCOOPER@aclu.org>; John Ramer <jramer@cooperkirk.com>; Brian Barnes
             <BBarnes@cooperkirk.com>; David Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
             <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann <ctiedemann@adacounty.id.gov>; Alan
             Hurst <Alan.Hurst@ag.idaho.gov>
             Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

             Counsel,

             We will review. During our call today you agreed to provide along with this proposal an identification
             of the date on which you received production from WPATH. Please promptly provide that date.

             Regards,
             Philip


             Philip S. May
             Groombridge, Wu, Baughman & Stone LLP
             801 17th St NW, Suite 1050
             Washington, DC 20006
             202-539-6620 (O) | 202-577-2199 (M)
             philip.may@groombridgewu.com


                                                                 3                                     S.App.0027
(31 of 64), Page 31 of 64  Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 31 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 5 of 18


             Pronouns: He/Him/His




             From: James Craig <James.Craig@ag.idaho.gov>
             Sent: Wednesday, March 27, 2024 9:09 PM
             To: Philip May <philip.may@groombridgewu.com>; Rafael Droz <Rafael.Droz@ag.idaho.gov>
             Cc: Li Nowlin-Sohl <lnowlin-sohl@aclu.org>; dreed@adacounty.id.gov; External- Ritchie Eppink
             <ritchie@wrest.coop>; Heather McCarthy <hmccarthy@adacounty.id.gov>; Eric Stone
             <eric.stone@groombridgewu.com>; Korberg, Alexia D <akorberg@paulweiss.com>; Leslie Cooper
             <LCOOPER@aclu.org>; John Ramer <jramer@cooperkirk.com>; Brian Barnes
             <BBarnes@cooperkirk.com>; David Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
             <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann <ctiedemann@adacounty.id.gov>; Alan
             Hurst <Alan.Hurst@ag.idaho.gov>
             Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

             Counsel,

             Thank you for the productive call this afternoon. As discussed, I’ve attached a revised draft
             Joint Motion for Protective Order adding in language addressing the Court’s authority to issue
             the protective order despite the stay of proceedings. While we hope that we can file this as
             either a joint motion or as an unopposed motion should you not want to sign a joint motion, if
             we cannot agree to language, we will be filing a motion for the protective order on our own by
             the end of the week.

             I look forward to hearing from you regarding this draft.

             Thank you,

             Jim Craig

                          James E. M. Craig | Division Chief
                          Civil Litigation and Constitutional Defense
                          Office of the Attorney General | State of Idaho
                          O: 208-854-8088 | W: ag.idaho.gov



             From: Philip May <philip.may@groombridgewu.com>
             Sent: Wednesday, March 27, 2024 9:37 AM
             To: Rafael Droz <Rafael.Droz@ag.idaho.gov>
             Cc: Li Nowlin-Sohl <lnowlin-sohl@aclu.org>; dreed@adacounty.id.gov; External- Ritchie Eppink
             <ritchie@wrest.coop>; Heather McCarthy <hmccarthy@adacounty.id.gov>; Eric Stone
             <eric.stone@groombridgewu.com>; Korberg, Alexia D <akorberg@paulweiss.com>; Leslie Cooper
             <LCOOPER@aclu.org>; John Ramer <jramer@cooperkirk.com>; Brian Barnes
             <BBarnes@cooperkirk.com>; David Thompson <dthompson@cooperkirk.com>; Laura Kauffmann

                                                                  4                               S.App.0028
(32 of 64), Page 32 of 64  Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 32 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 6 of 18


             <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann <ctiedemann@adacounty.id.gov>; James
             Craig <James.Craig@ag.idaho.gov>; Alan Hurst <Alan.Hurst@ag.idaho.gov>
             Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

             Rafael,

             We can use the below dial-in information for the call at 2:30pm MT/4:30pm ET:

             Dial in: +1 (650) 276-7076
             Passcode: 6728860#

             Regards,
             Philip


             Philip S. May
             Groombridge, Wu, Baughman & Stone LLP
             801 17th St NW, Suite 1050
             Washington, DC 20006
             202-539-6620 (O) | 202-577-2199 (M)
             philip.may@groombridgewu.com
             Pronouns: He/Him/His




             From: Rafael Droz <Rafael.Droz@ag.idaho.gov>
             Sent: Tuesday, March 26, 2024 7:18 PM
             To: Philip May <philip.may@groombridgewu.com>
             Cc: Li Nowlin-Sohl <lnowlin-sohl@aclu.org>; dreed@adacounty.id.gov; External- Ritchie Eppink
             <ritchie@wrest.coop>; Heather McCarthy <hmccarthy@adacounty.id.gov>; Eric Stone
             <eric.stone@groombridgewu.com>; Korberg, Alexia D <akorberg@paulweiss.com>; Leslie Cooper
             <LCOOPER@aclu.org>; John Ramer <jramer@cooperkirk.com>; Brian Barnes
             <BBarnes@cooperkirk.com>; David Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
             <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann <ctiedemann@adacounty.id.gov>; James
             Craig <James.Craig@ag.idaho.gov>; Alan Hurst <Alan.Hurst@ag.idaho.gov>
             Subject: Re: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

             We will provide the documents to you as soon as a protective order is in place. The documents were
             provided to us with the expectation that one would be in place.
             We are available for a call at 2:30 MT/4:30 ET.
             Regards
             Rafael
             Sent from my iPhone




                                                             5                                      S.App.0029
(33 of 64), Page 33 of 64  Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 33 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 7 of 18


                  On Mar 26, 2024, at 16:54, Philip May <philip.may@groombridgewu.com> wrote:

                  ﻿
                  Counsel,

                  Please immediately produce any and all documents you have received pursuant to any
                  subpoenas served and identify when WPATH produced them to you.

                  We are also not clear that the Court can entertain a motion to enter a protective order
                  while the case is stayed. We think it may be helpful to arrange a call to discuss the
                  procedural issues here. We are free tomorrow at 2:30pm MT/4:30pm ET. Please let us
                  know if you are available then and we can circulate a dial-in.

                  Regards,
                  Philip


                  Philip S. May
                  Groombridge, Wu, Baughman & Stone LLP
                  801 17th St NW, Suite 1050
                  Washington, DC 20006
                  202-539-6620 (O) | 202-577-2199 (M)
                  philip.may@groombridgewu.com
                  Pronouns: He/Him/His




                  From: Rafael Droz <Rafael.Droz@ag.idaho.gov>
                  Sent: Tuesday, March 26, 2024 3:57 PM
                  To: Philip May <philip.may@groombridgewu.com>; Li Nowlin-Sohl <lnowlin-
                  sohl@aclu.org>; dreed@adacounty.id.gov; External- Ritchie Eppink
                  <ritchie@wrest.coop>; Heather McCarthy <hmccarthy@adacounty.id.gov>
                  Cc: Eric Stone <eric.stone@groombridgewu.com>; Korberg, Alexia D
                  <akorberg@paulweiss.com>; Leslie Cooper <LCOOPER@aclu.org>; John Ramer
                  <jramer@cooperkirk.com>; Brian Barnes <BBarnes@cooperkirk.com>; David
                  Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
                  <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann
                  <ctiedemann@adacounty.id.gov>; James Craig <James.Craig@ag.idaho.gov>; Alan
                  Hurst <Alan.Hurst@ag.idaho.gov>
                  Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

                      Thanks for getting back to me. As you may recall, the State served a subpoena on
                      WPATH and it intends to use some of those documents in connection with a
                      sealed motion to dissolve the preliminary injunction.



                                                             6                                      S.App.0030
(34 of 64), Page 34 of 64  Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 34 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 8 of 18


                  Can we add your signature to the Stipulated Protective Order and Joint Motion
                  previously sent, or would you prefer the papers be filed as an unopposed motion
                  with a representation to the court that the parties have agreed to the form and
                  contents of the protective order?

                  Please let me know as soon as possible. Thank you.

                  Rafael

                                    Rafael J. Droz | Deputy Attorney General
                  <image001.png> Civil Litigation and Constitutional Defense
                                    Office of the Attorney General | State of Idaho
                                    M: 208-334-4139 | W: ag.idaho.gov



                  From: Philip May <philip.may@groombridgewu.com>
                  Sent: Tuesday, March 26, 2024 11:02 AM
                  To: Rafael Droz <Rafael.Droz@ag.idaho.gov>; Li Nowlin-Sohl <lnowlin-sohl@aclu.org>;
                  dreed@adacounty.id.gov; External- Ritchie Eppink <ritchie@wrest.coop>; Heather
                  McCarthy <hmccarthy@adacounty.id.gov>
                  Cc: Eric Stone <eric.stone@groombridgewu.com>; Korberg, Alexia D
                  <akorberg@paulweiss.com>; Leslie Cooper <LCOOPER@aclu.org>; John Ramer
                  <jramer@cooperkirk.com>; Brian Barnes <BBarnes@cooperkirk.com>; David
                  Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
                  <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann
                  <ctiedemann@adacounty.id.gov>; James Craig <James.Craig@ag.idaho.gov>; Alan
                  Hurst <Alan.Hurst@ag.idaho.gov>
                  Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

                  Counsel,

                  We are not opposed to the entry of the protective order as our correspondence below
                  reflects. We are, however, confused as to why you are seeking to enter this protective
                  order right now given that proceedings at the district court are presently stayed on the
                  basis of your interlocutory appeal to the Ninth Circuit.

                  Can you explain why this needs to be filed right now with such urgency?

                  Regards,
                  Philip




                  Philip S. May
                  Groombridge, Wu, Baughman & Stone LLP


                                                              7                                       S.App.0031
(35 of 64), Page 35 of 64  Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 35 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 9 of 18


                  801 17th St NW, Suite 1050
                  Washington, DC 20006
                  202-539-6620 (O) | 202-577-2199 (M)
                  philip.may@groombridgewu.com
                  Pronouns: He/Him/His



                  From: Rafael Droz <Rafael.Droz@ag.idaho.gov>
                  Sent: Tuesday, March 26, 2024 11:24 AM
                  To: Philip May <philip.may@groombridgewu.com>; Li Nowlin-Sohl <lnowlin-
                  sohl@aclu.org>; dreed@adacounty.id.gov; External- Ritchie Eppink
                  <ritchie@wrest.coop>; Heather McCarthy <hmccarthy@adacounty.id.gov>
                  Cc: Eric Stone <eric.stone@groombridgewu.com>; Korberg, Alexia D
                  <akorberg@paulweiss.com>; Leslie Cooper <LCOOPER@aclu.org>; John Ramer
                  <jramer@cooperkirk.com>; Brian Barnes <BBarnes@cooperkirk.com>; David
                  Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
                  <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann
                  <ctiedemann@adacounty.id.gov>; James Craig <James.Craig@ag.idaho.gov>; Alan
                  Hurst <Alan.Hurst@ag.idaho.gov>
                  Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

                  Counsel,

                  I’m just following up on my email from last week regarding the protective order – I
                  have not received any response from Plaintiffs’ counsel. If we do not receive an
                  executed stipulation and joint motion by noon mountain time, Defendants will file
                  a motion for entry of a protective order based upon the prior stipulated
                  agreement. If you are not planning on sending back an executed stipulation and
                  joint motion, please let me know if you will oppose Defendants’ motion. Thank
                  you.

                  Rafael

                                    Rafael J. Droz | Deputy Attorney General
                  <image001.png> Civil Litigation and Constitutional Defense
                                    Office of the Attorney General | State of Idaho
                                    M: 208-334-4139 | W: ag.idaho.gov



                  From: Rafael Droz
                  Sent: Thursday, March 21, 2024 10:41 AM
                  To: Philip May <philip.may@groombridgewu.com>; Li Nowlin-Sohl <lnowlin-
                  sohl@aclu.org>; dreed@adacounty.id.gov; External- Ritchie Eppink
                  <ritchie@wrest.coop>; Heather McCarthy <hmccarthy@adacounty.id.gov>
                  Cc: Eric Stone <eric.stone@groombridgewu.com>; akorberg

                                                              8                                     S.App.0032
(36 of 64), Page 36 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 36 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 10 of 18


                  <akorberg@paulweiss.com>; Leslie Cooper <LCOOPER@aclu.org>; John Ramer
                  <jramer@cooperkirk.com>; Brian Barnes <BBarnes@cooperkirk.com>; David
                  Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
                  <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann
                  <ctiedemann@adacounty.id.gov>; James Craig <James.Craig@ag.idaho.gov>; Alan
                  Hurst <Alan.Hurst@ag.idaho.gov>
                  Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

                  Counsel,

                  I recently discovered that we failed to follow up on the email below regarding filing
                  the protective order previously agreed to. Please review the attached. If
                  acceptable, please execute the joint motion and the stipulated protective order
                  and we will get this filed right away. I apologize for the oversight.

                  Regards,

                  Rafael

                                    Rafael J. Droz | Deputy Attorney General
                  <image001.png> Civil Litigation and Constitutional Defense
                                    Office of the Attorney General | State of Idaho
                                    M: 208-334-4139 | W: ag.idaho.gov



                  From: Philip May <philip.may@groombridgewu.com>
                  Sent: Wednesday, September 27, 2023 11:56 AM
                  To: Lincoln Wilson <Lincoln.Wilson@ag.idaho.gov>; Rafael Droz
                  <Rafael.Droz@ag.idaho.gov>; Li Nowlin-Sohl <lnowlin-sohl@aclu.org>;
                  dreed@adacounty.id.gov; External- Ritchie Eppink <ritchie@wrest.coop>; Heather
                  McCarthy <hmccarthy@adacounty.id.gov>; Josh Turner <josh.turner@ag.idaho.gov>
                  Cc: Eric Stone <eric.stone@groombridgewu.com>; akorberg
                  <akorberg@paulweiss.com>; Leslie Cooper <LCOOPER@aclu.org>; John Ramer
                  <jramer@cooperkirk.com>; Brian Barnes <BBarnes@cooperkirk.com>; David
                  Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
                  <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann
                  <ctiedemann@adacounty.id.gov>
                  Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

                  Lincoln,

                  We are fine with your revisions. Will you handle filing or would you like us to?

                  Regards,
                  Philip


                                                              9                                      S.App.0033
(37 of 64), Page 37 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 37 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 11 of 18




                  Philip S. May
                  Groombridge, Wu, Baughman & Stone LLP
                  801 17th St NW, Suite 1050
                  Washington, DC 20006
                  202-539-6620 (O) | 202-577-2199 (M)
                  philip.may@groombridgewu.com
                  Pronouns: He/Him/His




                  From: Lincoln Wilson <Lincoln.Wilson@ag.idaho.gov>
                  Sent: Tuesday, September 19, 2023 1:01 PM
                  To: Philip May <philip.may@groombridgewu.com>; Rafael Droz
                  <Rafael.Droz@ag.idaho.gov>; Li Nowlin-Sohl <lnowlin-sohl@aclu.org>;
                  dreed@adacounty.id.gov; External- Ritchie Eppink <ritchie@wrest.coop>; Heather
                  McCarthy <hmccarthy@adacounty.id.gov>; Josh Turner <josh.turner@ag.idaho.gov>
                  Cc: Eric Stone <eric.stone@groombridgewu.com>; 'Korberg, Alexia D'
                  <akorberg@paulweiss.com>; Leslie Cooper <LCOOPER@aclu.org>; John Ramer
                  <jramer@cooperkirk.com>; Brian Barnes <BBarnes@cooperkirk.com>; David
                  Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
                  <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann
                  <ctiedemann@adacounty.id.gov>
                  Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

                  Hi Phillip,

                  Attached is a proposed mark-up of the protective order that accepts your changes and
                  adds just a few more. As discussed, we’ve tried to impose a clear limit on the “highly
                  confidential” category so that it is only used for designations necessary to preserve
                  your clients’ anonymity. And to Rafael’s point, we’ve removed the reference to
                  “attorney eyes only” because it suggests that only attorneys may review when in fact
                  (as you note), the highly confidential designation just limits client access without regard
                  to attorney access, per paragraph 9.

                  If these changes are acceptable to you, I think we can get this filed. Thanks for working
                  with us on this.



                                 Lincoln Davis Wilson | Division Chief
                  <image001.png> Civil Litigation and Constitutional Defense
                                    Office of the Attorney General | State of Idaho
                                    M: 208-809-1077 | W: ag.idaho.gov




                                                              10                                        S.App.0034
(38 of 64), Page 38 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 38 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 12 of 18




                  From: Philip May <philip.may@groombridgewu.com>
                  Sent: Monday, September 18, 2023 5:34 PM
                  To: Rafael Droz <Rafael.Droz@ag.idaho.gov>; Lincoln Wilson
                  <Lincoln.Wilson@ag.idaho.gov>; Li Nowlin-Sohl <lnowlin-sohl@aclu.org>;
                  dreed@adacounty.id.gov; External- Ritchie Eppink <ritchie@wrest.coop>; Heather
                  McCarthy <hmccarthy@adacounty.id.gov>; Josh Turner <josh.turner@ag.idaho.gov>
                  Cc: Eric Stone <eric.stone@groombridgewu.com>; 'Korberg, Alexia D'
                  <akorberg@paulweiss.com>; Leslie Cooper <LCOOPER@aclu.org>; John Ramer
                  <jramer@cooperkirk.com>; Brian Barnes <BBarnes@cooperkirk.com>; David
                  Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
                  <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann
                  <ctiedemann@adacounty.id.gov>
                  Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

                  Lincoln and Rafael,

                  As you’ll see from our draft proposal, the category of Highly Confidential material is
                  already essentially limited to medical records in Paragraph 3(b). If you would like more
                  specific language, we are willing to consider your edits.

                  With respect to access for experts to Highly Confidential material, experts who have
                  signed the necessary undertaking already have such access in our draft. The Highly
                  Confidential category only precludes access by individuals who fall within Paragraph
                  8(c) who can otherwise view Confidential material.

                  Please let us know if you have further edits or comments.

                  Regards,
                  Philip


                  Philip S. May
                  Groombridge, Wu, Baughman & Stone LLP
                  801 17th St NW, Suite 1050
                  Washington, DC 20006
                  202-539-6620 (O) | 202-577-2199 (M)
                  philip.may@groombridgewu.com
                  Pronouns: He/Him/His




                  From: Rafael Droz <Rafael.Droz@ag.idaho.gov>

                                                             11                                       S.App.0035
(39 of 64), Page 39 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 39 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 13 of 18


                  Sent: Friday, September 15, 2023 5:34 PM
                  To: Lincoln Wilson <Lincoln.Wilson@ag.idaho.gov>; Li Nowlin-Sohl <lnowlin-
                  sohl@aclu.org>; Philip May <philip.may@groombridgewu.com>;
                  dreed@adacounty.id.gov; External- Ritchie Eppink <ritchie@wrest.coop>; Heather
                  McCarthy <hmccarthy@adacounty.id.gov>; Josh Turner <josh.turner@ag.idaho.gov>
                  Cc: Eric Stone <eric.stone@groombridgewu.com>; 'Korberg, Alexia D'
                  <akorberg@paulweiss.com>; Leslie Cooper <LCOOPER@aclu.org>; John Ramer
                  <jramer@cooperkirk.com>; Brian Barnes <BBarnes@cooperkirk.com>; David
                  Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
                  <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann
                  <ctiedemann@adacounty.id.gov>
                  Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

                  Li,

                  Regarding the information that does not need to be shared beyond the attorneys, are
                  you referring to the medical information or the plaintiffs’ names? If the former, we
                  may need to share the medical information with the experts.

                                    Rafael J. Droz | Deputy Attorney General
                  <image001.png> Civil Litigation and Constitutional Defense
                                    Office of the Attorney General | State of Idaho
                                    M: 208-334-4139 | W: ag.idaho.gov



                  From: Lincoln Wilson <Lincoln.Wilson@ag.idaho.gov>
                  Sent: Friday, September 15, 2023 3:22 PM
                  To: Li Nowlin-Sohl <lnowlin-sohl@aclu.org>; Rafael Droz <Rafael.Droz@ag.idaho.gov>;
                  Philip May <philip.may@groombridgewu.com>; dreed@adacounty.id.gov; External-
                  Ritchie Eppink <ritchie@wrest.coop>; Heather McCarthy
                  <hmccarthy@adacounty.id.gov>; Josh Turner <josh.turner@ag.idaho.gov>
                  Cc: Eric Stone <eric.stone@groombridgewu.com>; 'Korberg, Alexia D'
                  <akorberg@paulweiss.com>; Leslie Cooper <LCOOPER@aclu.org>; John Ramer
                  <jramer@cooperkirk.com>; Brian Barnes <BBarnes@cooperkirk.com>; David
                  Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
                  <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann
                  <ctiedemann@adacounty.id.gov>
                  Subject: Re: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

                  Li, I think we are ok with using the Highly Confidential category for that purpose as long
                  as its use is limited to that purpose. Would you be ok with a modification of the order
                  to that effect?

                  Get Outlook for iOS

                  From: Li Nowlin-Sohl <lnowlin-sohl@aclu.org>


                                                              12                                       S.App.0036
(40 of 64), Page 40 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 40 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 14 of 18


                  Sent: Friday, September 15, 2023 2:59:41 PM
                  To: Rafael Droz <Rafael.Droz@ag.idaho.gov>; Philip May
                  <philip.may@groombridgewu.com>; dreed@adacounty.id.gov
                  <dreed@adacounty.id.gov>; External- Ritchie Eppink <ritchie@wrest.coop>; Lincoln
                  Wilson <Lincoln.Wilson@ag.idaho.gov>; Heather McCarthy
                  <hmccarthy@adacounty.id.gov>; Josh Turner <josh.turner@ag.idaho.gov>
                  Cc: Eric Stone <eric.stone@groombridgewu.com>; 'Korberg, Alexia D'
                  <akorberg@paulweiss.com>; Leslie Cooper <LCOOPER@aclu.org>; John Ramer
                  <jramer@cooperkirk.com>; Brian Barnes <BBarnes@cooperkirk.com>; David
                  Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
                  <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann
                  <ctiedemann@adacounty.id.gov>
                  Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

                  Rafael,
                  Given the sensitivity of this issue, we think that the plaintiffs’ medical records here
                  warrant the highly confidential category. This is heightened by the fact that they are
                  proceeding in pseudonym. This highly sensitive, personal, and confidential information
                  does not need to be shared beyond the attorneys assigned to this matter. Do you have
                  concerns about including this category, or about the scope of who has access to this
                  category? Let us know if it would be helpful to set up a call to discuss.

                  Li


                  From: Rafael Droz <Rafael.Droz@ag.idaho.gov>
                  Sent: Friday, September 15, 2023 7:59 AM
                  To: Philip May <philip.may@groombridgewu.com>; dreed@adacounty.id.gov; Li
                  Nowlin-Sohl <lnowlin-sohl@aclu.org>; External- Ritchie Eppink <ritchie@wrest.coop>;
                  Lincoln Wilson <Lincoln.Wilson@ag.idaho.gov>; Heather McCarthy
                  <hmccarthy@adacounty.id.gov>; Josh Turner <josh.turner@ag.idaho.gov>
                  Cc: Eric Stone <eric.stone@groombridgewu.com>; 'Korberg, Alexia D'
                  <akorberg@paulweiss.com>; Leslie Cooper <LCOOPER@aclu.org>; John Ramer
                  <jramer@cooperkirk.com>; Brian Barnes <BBarnes@cooperkirk.com>; David
                  Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
                  <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann
                  <ctiedemann@adacounty.id.gov>
                  Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry
                  Good morning, I am following up on Lincoln’s email below regarding the changes to the proposed protective order, in particular, the “Highly Confidential” issue. Please let us know your thoughts. Thank you. Rafael Rafael J. Droz | Deputy Attorney




                  Good morning,
                  I am following up on Lincoln’s email below regarding the changes to the proposed
                  protective order, in particular, the “Highly Confidential” issue. Please let us know your
                  thoughts. Thank you.

                  Rafael



                                                                                                                                                                                                                                                                          13   S.App.0037
(41 of 64), Page 41 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 41 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 15 of 18


                                    Rafael J. Droz | Deputy Attorney General
                  <image001.png> Civil Litigation and Constitutional Defense
                                    Office of the Attorney General | State of Idaho
                                    M: 208-334-4139 | W: ag.idaho.gov



                  From: Lincoln Wilson <Lincoln.Wilson@ag.idaho.gov>
                  Sent: Thursday, September 7, 2023 10:56 AM
                  To: Philip May <philip.may@groombridgewu.com>; dreed@adacounty.id.gov; Rafael
                  Droz <Rafael.Droz@ag.idaho.gov>; Li Nowlin-Sohl <lnowlin-sohl@aclu.org>; External-
                  Ritchie Eppink <ritchie@wrest.coop>; Heather McCarthy
                  <hmccarthy@adacounty.id.gov>; Josh Turner <josh.turner@ag.idaho.gov>
                  Cc: Eric Stone <eric.stone@groombridgewu.com>; 'Korberg, Alexia D'
                  <akorberg@paulweiss.com>; Leslie Cooper <LCOOPER@aclu.org>; John Ramer
                  <jramer@cooperkirk.com>; Brian Barnes <BBarnes@cooperkirk.com>; David
                  Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
                  <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann
                  <ctiedemann@adacounty.id.gov>
                  Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

                  Hi Philip,

                  Sorry for the crossed wires on the protective order. We are ok with your changes, save
                  for the addition of the “Highly Confidential” category, which we are not sure is
                  warranted here. You list medical records as examples of why this category is needed,
                  but in most cases I’ve been involved in, ordinary confidentiality has been adequate to
                  protect that information from public disclosure. Is your concern with preserving the
                  anonymity of these plaintiffs with respect to our state entity clients? Just want to
                  understand the thinking on this a little better.

                  Thank you,



                                 Lincoln Davis Wilson | Division Chief
                  <image001.png> Civil Litigation and Constitutional Defense
                                    Office of the Attorney General | State of Idaho
                                    M: 208-809-1077 | W: ag.idaho.gov




                  From: Philip May <philip.may@groombridgewu.com>
                  Sent: Wednesday, September 6, 2023 4:38 PM
                  To: dreed@adacounty.id.gov; Rafael Droz <Rafael.Droz@ag.idaho.gov>; Li Nowlin-Sohl
                  <lnowlin-sohl@aclu.org>; Lincoln Wilson <Lincoln.Wilson@ag.idaho.gov>; External-
                  Ritchie Eppink <ritchie@wrest.coop>; Heather McCarthy


                                                              14                                    S.App.0038
(42 of 64), Page 42 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 42 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 16 of 18


                  <hmccarthy@adacounty.id.gov>; Josh Turner <josh.turner@ag.idaho.gov>
                  Cc: Eric Stone <eric.stone@groombridgewu.com>; 'Korberg, Alexia D'
                  <akorberg@paulweiss.com>; Leslie Cooper <LCOOPER@aclu.org>; John Ramer
                  <jramer@cooperkirk.com>; Brian Barnes <BBarnes@cooperkirk.com>; David
                  Thompson <dthompson@cooperkirk.com>; Laura Kauffmann
                  <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann
                  <ctiedemann@adacounty.id.gov>
                  Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry

                  Rafael,

                  Lincoln had previously circulated a proposed protective order. We provided edits for
                  your consideration and had not heard back. For everyone’s convenience I am
                  reattaching our edits here.

                  Please let us know if you have any edits to what we had previously proposed.

                  Regards,
                  Philip


                  Philip S. May
                  Groombridge, Wu, Baughman & Stone LLP
                  801 17th St NW, Suite 1050
                  Washington, DC 20006
                  202-539-6620 (O) | 202-577-2199 (M)
                  philip.may@groombridgewu.com
                  Pronouns: He/Him/His




                  From: Dayton Reed <dreed@adacounty.id.gov>
                  Sent: Wednesday, September 6, 2023 5:05 PM
                  To: Rafael Droz <Rafael.Droz@ag.idaho.gov>; Li Nowlin-Sohl <lnowlin-sohl@aclu.org>;
                  Lincoln Wilson <Lincoln.Wilson@ag.idaho.gov>; External- Ritchie Eppink
                  <ritchie@wrest.coop>; Heather McCarthy <hmccarthy@adacounty.id.gov>; Josh
                  Turner <josh.turner@ag.idaho.gov>
                  Cc: Eric Stone <eric.stone@groombridgewu.com>; 'Korberg, Alexia D'
                  <akorberg@paulweiss.com>; Leslie Cooper <LCOOPER@aclu.org>; Philip May
                  <philip.may@groombridgewu.com>; John Ramer <jramer@cooperkirk.com>; Brian
                  Barnes <BBarnes@cooperkirk.com>; David Thompson <dthompson@cooperkirk.com>;
                  Laura Kauffmann <Laura.Kauffmann@ag.idaho.gov>; Chyvonne Tiedemann
                  <ctiedemann@adacounty.id.gov>
                  Subject: RE: Poe: Proposed Stipulated Protective Order & Joint Motion for Entry



                                                            15                                      S.App.0039
(43 of 64), Page 43 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 43 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 17 of 18


                  Feel free to add my /s/. Thanks.

                  Dayton P. Reed
                  Deputy Prosecuting Attorney, Civil Division
                  Ada County Prosecuting Attorney's Office
                  200 W. Front Street
                  Boise, Idaho 83702
                  (208) 287-7700

                  CONFIDENTIALITY NOTICE: This electronic mail message and any attached files contain
                  information intended for the exclusive use of the individual or entity to whom it is
                  addressed and may contain information that is proprietary, privileged, confidential
                  and/or exempt from disclosure under applicable law. If you are not the intended
                  recipient, you are hereby notified that any viewing, copying, disclosure or distribution
                  of this information may be subject to legal restriction or sanction. Please notify the
                  sender, by electronic mail or telephone at (208) 287-7700, of any unintended
                  recipients and delete the original message without making any copies.

                  From: Rafael Droz <Rafael.Droz@ag.idaho.gov>
                  Sent: Wednesday, September 6, 2023 2:42 PM
                  To: Li Nowlin-Sohl <lnowlin-sohl@aclu.org>; Lincoln Wilson
                  <Lincoln.Wilson@ag.idaho.gov>; External- Ritchie Eppink <ritchie@wrest.coop>;
                  Heather McCarthy <hmccarthy@adacounty.id.gov>; Josh Turner
                  <josh.turner@ag.idaho.gov>; Dayton Reed <dreed@adacounty.id.gov>
                  Cc: Eric Stone <eric.stone@groombridgewu.com>; 'Korberg, Alexia D'
                  <akorberg@paulweiss.com>; Leslie Cooper <LCOOPER@aclu.org>; Philip May
                  <philip.may@groombridgewu.com>; John Ramer <jramer@cooperkirk.com>; Brian
                  Barnes <BBarnes@cooperkirk.com>; David Thompson <dthompson@cooperkirk.com>;
                  Laura Kauffmann <Laura.Kauffmann@ag.idaho.gov>
                  Subject: [EXTERNAL] Poe: Proposed Stipulated Protective Order & Joint Motion for
                  Entry


                         CAUTION: This email originated from outside Ada County email servers. Do not click on links or
                         open attachments unless you recognize the sender and know the content is safe. Verify the
                         sender by mouse-hovering over their display name in order to see the sender’s full email
                         address and confirm it is not suspicious. If you are unsure an email is safe, please report the
                         email by using the 'Phish Alert' button in Outlook.



                  All,

                  I have attached a draft of a proposed stipulated protective order and a draft of a
                  proposed joint motion to have it entered as an order of the court.
                  Please review and let me know if any comments or changes. Once approved with
                  signatures, we will arrange to have them filed.


                                                                      16                                             S.App.0040
(44 of 64), Page 44 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 44 of 64
                    Case 1:23-cv-00269-BLW Document 99-3 Filed 04/19/24 Page 18 of 18


                  Thank you.

                  Rafael

                                       Rafael J. Droz | Deputy Attorney General
                  <image001.png> Civil Litigation and Constitutional Defense
                                       Office of the Attorney General | State of Idaho
                                       M: 208-334-4139 | W: ag.idaho.gov




                  NOTICE: This message, including any attachments, is intended only for the individual(s) or
                  entity(ies) named above and may contain information that is confidential, privileged, attorney work
                  product, or otherwise exempt from disclosure under applicable law. If you are not the intended
                  recipient, please reply to the sender that you have received this transmission in error, and then
                  please delete this email.



                  This message is intended only for the use of the addressee and may contain
                  confidential and privileged information. Any review, use, or dissemination by anyone
                  other than the addressee is strictly prohibited. If you received this message in error,
                  please notify us and delete all copies of this message.

                  This message is intended only for the use of the addressee and may contain
                  confidential and privileged information. Any review, use, or dissemination by anyone
                  other than the addressee is strictly prohibited. If you received this message in error,
                  please notify us and delete all copies of this message.

                  This message is intended only for the use of the addressee and may contain
                  confidential and privileged information. Any review, use, or dissemination by anyone
                  other than the addressee is strictly prohibited. If you received this message in error,
                  please notify us and delete all copies of this message.

                  This message is intended only for the use of the addressee and may contain
                  confidential and privileged information. Any review, use, or dissemination by anyone
                  other than the addressee is strictly prohibited. If you received this message in error,
                  please notify us and delete all copies of this message.

                  This message is intended only for the use of the addressee and may contain
                  confidential and privileged information. Any review, use, or dissemination by anyone
                  other than the addressee is strictly prohibited. If you received this message in error,
                  please notify us and delete all copies of this message.


                  This message is intended only for the use of the addressee and may contain
                  confidential and privileged information. Any review, use, or dissemination by
                  anyone other than the addressee is strictly prohibited. If you received this
                  message in error, please notify us and delete all copies of this message.


                                                                   17                                            S.App.0041
(45 of 64), Page 45 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 45 of 64
                     Case 1:23-cv-00269-BLW Document 99-4 Filed 04/19/24 Page 1 of 4




                                    EXHIBIT C




                                                                                 S.App.0042
(46 of 64), Page 46 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 46 of 64
                     Case 1:23-cv-00269-BLW Document 99-4 Filed 04/19/24 Page 2 of 4


             From:               James Craig
             To:                 Marci Smith; Ritchie Eppink
             Cc:                 Li Nowlin-Sohl; dreed@adacounty.id.gov; Heather McCarthy; Eric Stone; Korberg, Alexia D; lcooper_aclu.org;
                                 John Ramer; Brian Barnes; David Thompson; Chyvonne Tiedemann; Philip May; Rafael Droz
             Subject:            RE: Poe v. Labrador - Mtn for Protective Order, Request for Expedited Briefing Schedule
             Date:               Wednesday, April 3, 2024 5:26:37 PM
             Attachments:        image001.png



             Marci,

             Thank you for letting us know.

             Jim

                            James E. M. Craig | Division Chief
                            Civil Litigation and Constitutional Defense
                            Office of the Attorney General | State of Idaho
                            O: 208-854-8088 | W: ag.idaho.gov



             From: Marci Smith <Marci_Smith@id.uscourts.gov>
             Sent: Wednesday, April 3, 2024 2:01 PM
             To: Ritchie Eppink <ritchie@wrest.coop>
             Cc: James Craig <James.Craig@ag.idaho.gov>; Li Nowlin-Sohl <lnowlin-sohl@aclu.org>;
             dreed@adacounty.id.gov; Heather McCarthy <hmccarthy@adacounty.id.gov>; Eric Stone
             <eric.stone@groombridgewu.com>; Korberg, Alexia D <akorberg@paulweiss.com>; lcooper_aclu.org
             <lcooper@aclu.org>; John Ramer <jramer@cooperkirk.com>; Brian Barnes
             <BBarnes@cooperkirk.com>; David Thompson <dthompson@cooperkirk.com>; Chyvonne
             Tiedemann <ctiedemann@adacounty.id.gov>; Philip May <philip.may@groombridgewu.com>;
             Rafael Droz <Rafael.Droz@ag.idaho.gov>
             Subject: Re: Poe v. Labrador - Mtn for Protective Order, Request for Expedited Briefing Schedule

             Good afternoon all,

             I apologize for the delayed response. Judge Winmill is aware of the motion and has decided
             against an expedited briefing schedule. He has signed an order to that effect which will be
             docketed late today.

             Best,

             Marci



             Sent from my iPhone




                                                                            1                                                   S.App.0043
(47 of 64), Page 47 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 47 of 64
                     Case 1:23-cv-00269-BLW Document 99-4 Filed 04/19/24 Page 3 of 4


                  On Apr 3, 2024, at 1:36 PM, Ritchie Eppink <ritchie@wrest.coop> wrote:

                  ﻿
                      CAUTION - EXTERNAL:



                  Dear Marci,

                  Please note that Plaintiffs plan to oppose the motion and oppose an expedited
                  briefing schedule.

                  The evidence to which Mr. Craig refers was provided to the Attorney General’s
                  office in response to a subpoena six months ago, on October 3, 2023. That was
                  three weeks before the Attorney General filed its final brief opposing Plaintiffs’
                  motion for a preliminary injunction, and more than a month before the Court held
                  a hearing on the motion. Further, last week was the first time that the Attorney
                  General’s office advised Plaintiffs that any documents had been produced in
                  response to the Attorney General’s subpoena.

                  Thank you for your kind attention to this matter.

                  Yours respectfully,

                  Ritchie Eppink
                  Attorney
                  all pronouns
                  W/REST Collective
                  812 West Franklin Street
                  Boise, Idaho 83702
                  (208) 371-9752 Signal | phone
                  www.wrest.coop




                  On 4/3/24 08:26, James Craig wrote:
                          Marci,

                          As I’m sure you’re aware, in the Poe v. Labrador case, Case. No. 1:23-
                          cv-00269-BLW, on Friday evening, the Attorney General filed a motion
                          for entry of a protective order. I wanted to bring to your attention that
                          as part of the motion, we included a request for an expedited briefing
                          schedule. It is our hope to be able to have a protective order entered
                          as soon as possible so that we can then file as soon as possible a
                          motion to dissolve or stay the preliminary injunction based upon new
                          evidence, including evidence that was provided to us in response to a
                          subpoena with the understanding that there would be a protective
                          order in place.


                                                              2                                       S.App.0044
(48 of 64), Page 48 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 48 of 64
                     Case 1:23-cv-00269-BLW Document 99-4 Filed 04/19/24 Page 4 of 4




                         Please let me know if you have any questions, or need any additional
                         information.

                         Thank you,

                         Jim Craig

                                        James E. M. Craig | Division Chief
                         <image001.png> Civil Litigation and Constitutional Defense
                                               Office of the Attorney General | State of Idaho
                                               O: 208-854-8088 | W: ag.idaho.gov




                         NOTICE: This message, including any attachments, is intended only for the
                         individual(s) or entity(ies) named above and may contain information that is
                         confidential, privileged, attorney work product, or otherwise exempt from disclosure
                         under applicable law. If you are not the intended recipient, please reply to the
                         sender that you have received this transmission in error, and then please delete this
                         email.


                   CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary.
                      Exercise caution when opening attachments or clicking on links.



             This message is intended only for the use of the addressee and may contain confidential and
             privileged information. Any review, use, or dissemination by anyone other than the addressee
             is strictly prohibited. If you received this message in error, please notify us and delete all
             copies of this message.




                                                                   3                                             S.App.0045
(49 of 64), Page 49 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 49 of 64
                   Case 2:22-cv-00184-LCB-CWB Document 614 Filed 06/26/24 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF ALABAMA
                                      NORTHERN DIVISION
            BRIANNA BOE, et al.,                      )
                                                      )
            Plaintiffs,                               )
                                                      )
            v.                                        )      Case No. 2:22-cv-184-LCB
                                                      )
            STEVE MARSHALL, et al.,                   )
                                                      )
            Defendants.                               )

                                                 ORDER

                 For good cause shown, the Court GRANTS the following motions:

                 (1)      Defendants’ Unopposed Motion for Leave to Substitute Summary

                          Judgement Motion and Evidentiary Submissions on the Public Docket

                          (Doc. 575);

                 (2)      Plaintiff-Intervenor United States of America’s Unopposed Motion for

                          Excess Pages (Doc. 586);

                 (3)      Plaintiff-Intervenor United States of America’s Unopposed Motion for

                          Leave to File Under Seal Unredacted Motion to Exclude and Brief and

                          Evidentiary Submissions in Support (Doc. 587);

                 (4)      Defendants’ Motion for Leave to File Under Seal Unredacted Motions

                          to Exclude Expert Testimony and Evidentiary Submissions in Support

                          (Doc. 588);




                                                                                    S.App.0046
(50 of 64), Page 50 of 64   Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 50 of 64
                   Case 2:22-cv-00184-LCB-CWB Document 614 Filed 06/26/24 Page 2 of 2




                 (5)   Plaintiff-Intervenor United States of America’s Motion for Extension

                       of Time to Complete Filing Under Seal the Unredacted Motion to

                       Exclude and Brief and Evidentiary Submissions in Support (Doc. 603);

                       and

                 (6)   Private Plaintiffs’ Unopposed Motion for Leave to File Under Seal

                       Unredacted Motion to Exclude Certain Testimony (Doc. 610).

                 DONE and ORDERED this June 26, 2024.



                                             _________________________________
                                             LILES C. BURKE
                                             UNITED STATES DISTRICT JUDGE




                                                  2

                                                                                 S.App.0047
(51 of 64), Page 51 of 64    Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 51 of 64




                  1         IN THE COURT OF COMMON PLEAS OF FRANKLIN COUNTY, OHIO

                  2                                    CIVIL DIVISION

                  3                                          - - -

                  4
                        MADELINE MOE, GINA GOE,                 :
                  5     GARRET GOE, GRACE GOE,
                        MICHELLE MOE, MICHAEL                   :    Case No. 24CV-2481
                  6     MOE,,
                                                                :
                  7                Plaintiffs,
                                                                :
                  8          vs.
                                                                :
                  9     DAVID YOST, STATE OF
                        OHIO, STATE MEDICAL                     :
                 10     BOARD OF OHIO,
                                                                :
                 11                Defendants.

                 12
                                                         - - -
                 13                           TRANSCRIPT OF PROCEEDINGS

                 14     Before the Honorable Michael Holbrook, Judge, on

                 15     Thursday, July 18, 2024.

                 16                                           - - -
                        APPEARANCES:
                 17
                             Mr. David Carey, Ms. Freda Levenson, Harper Seldin,
                 18          and Miranda Hooker
                              Attorneys at Law,
                 19
                                   On behalf of the Plaintiffs.
                 20
                             Mr. Erik Clark, Ms. Amanda Narog, L.M. Cordero, and
                 21          Steve Oldham,
                             Attorneys at Law,
                 22
                                   On behalf of the Defendants.
                 23

                 24                                           - - -

                 25




                                                                                        S.App.0048
(52 of 64), Page 52 of 64    Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 52 of 64
                                                                                                     2



                  1                           INDEX TO THE PROCEEDINGS

                  2                                        - - -

                  3     Voir dire of Ms. Reed by Mr. Seldin                             169

                  4
                                               INDEX TO THE WITNESSES
                  5
                                                           - - -
                  6

                  7         CALLED BY THE DEFENDANT:                                       Page

                  8
                        DR. JAMES MICHAEL CANTOR
                  9         Continued Direct Examination by                                    3
                            Ms. Narog
                 10         Cross-Examination by Ms. Hooker                                   25

                 11     DR. STEPHEN LEVINE
                            Direct Examination by Ms. Narog                                  57
                 12         Cross-Examination by Ms. Cooper                                 105
                            Redirect Examination by Ms. Narog                               146
                 13
                        JAMIE REED
                 14         Direct Examination by Mr. Clark                                 151
                            Resumed Direct Examination by                                   181
                 15         Mr. Clark
                            Cross-Examination by Mr. Seldin                                 223
                 16

                 17
                                                           - - -
                 18

                 19

                 20

                 21

                 22

                 23

                 24

                 25



                                                                                        S.App.0049
(53 of 64), Page 53 of 64    Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 53 of 64
                                                                                                     32



                  1         about treatment, that would be accurate.                    If the

                  2         questions were about research about the population

                  3         more broadly, then that would not be accurate.

                  4                     The studies that I participated in were

                  5         about, for example, demographic changes over time,

                  6         and not responses to treatment.

                  7              Q.     Okay.     My question was about treatment.

                  8         So your answer is "no"?

                  9              A.     I don't recall any of the studies being

                 10         specific to treatment, no.

                 11              Q.     Most of your published research is in the

                 12         area of pedophilia; is that right?

                 13              A.     Of the research that I myself have

                 14         conducted, the largest and the best known have

                 15         been about pedophilia and related phenomena, yes.

                 16              Q.     You have a Twitter account with the

                 17         handle @jamescantorphd, correct?

                 18              A.     Yes.

                 19                     MS. NAROG:       Your Honor, may I approach?

                 20                     THE COURT:       You may.       Just show the other

                 21         side what you're bringing.

                 22                     Do you have them marked?

                 23                     MS. NAROG:       I do.

                 24                     THE COURT:       This is exhibit what again?

                 25                     MS. NAROG:       I'm not entering it as an


                                                                                        S.App.0050
(54 of 64), Page 54 of 64    Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 54 of 64
                                                                                                     33



                  1         exhibit.

                  2                     THE COURT:       Huh?

                  3                     MS. NAROG:       I'm not using it as an

                  4         exhibit.

                  5                     THE COURT:       Then you --

                  6                     MS. NAROG:       I'm showing it to the

                  7         witness.

                  8                     THE COURT:       You're using it as an

                  9         exhibit.     We'll mark it.

                 10                     MS. NAROG:       Okay.

                 11                     THE COURT:       Let's identify it.

                 12                     MS. NAROG:       What's the last number of

                 13         Plaintiffs' exhibits?

                 14                     MS. ROSNER:        It's going to be 28.

                 15         BY MS. NAROG:

                 16              Q.     All right.       I'm going to show you

                 17         Plaintiffs' Exhibit 28, Dr. Cantor.

                 18                     In 2018, you tweeted that you believed

                 19         "P," representing pedophilias, should be included

                 20         in the LGBTQ cause, correct?

                 21              A.     Yes and no.        The -- one can't really

                 22         understand this without the 20 e-mails that it was

                 23         in response to, and it is exactly because I'm an

                 24         expert in pedophilia that I get involved in these

                 25         kinds of conversations.


                                                                                        S.App.0051
(55 of 64), Page 55 of 64    Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 55 of 64
                                                                                                     34



                  1                     The rest of the conversation and, of

                  2         course, the context of this was in -- was in

                  3         telling the audience in this particular

                  4         conversation about the difference between

                  5         pedophilia, which is a sexual interest pattern,

                  6         versus child molestation, the actual crime, you

                  7         know, for which the legal system we need to

                  8         actually, you know, act appropriately.

                  9                     As a researcher studying the causes of

                 10         sex interest patterns, I'm pointing out that

                 11         people are not responsible for what they're

                 12         attracted to.       They are responsible for their

                 13         behavior.

                 14                     So this was a part of the conversation

                 15         that, you know -- that once we had determined --

                 16         and it was, of course, my own research that has

                 17         determined that pedophilia is a brain phenomenon

                 18         that people did not pick and cannot change, for

                 19         that part, they are blameless.               And, of course, I

                 20         was separating it from the behavior.

                 21                     Therefore, they are just as blameless for

                 22         what their attractions are as anybody else is.

                 23              Q.     And I'm not trying to take this out of

                 24         context.

                 25                     So the tweet that you're responding to


                                                                                        S.App.0052
(56 of 64), Page 56 of 64    Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 56 of 64
                                                                                                     35



                  1         states:     "To LGBTQs, I have no desire to link P

                  2         with your cause and understand why you don't the

                  3         idea.     It doesn't help you with your legitimate

                  4         goals.     But there are key parallels in the

                  5         science, and there's no way to avoid them if you

                  6         want to explain pedophilia."

                  7                     And you responded:           "Speaking as a gay

                  8         man, I believe we SHOULD" -- in capital letters --

                  9         "include the P to do otherwise to betray

                 10         principles that give us our rights."

                 11                     Is that a correct reading of this

                 12         document?

                 13              A.     No, not without the person that the two

                 14         of us are responding to.            I wasn't responding to

                 15         Ethan, and Ethan wasn't responding to me.

                 16                     The two of us were responding to the

                 17         tweets that came before this.

                 18                     Ethan is the founder of a fascinating

                 19         group where -- I don't want to say "pedophile

                 20         community."      They're not exactly a community.

                 21                     But there have been, of course, many

                 22         different groups of people who are attracted to

                 23         children, some of which are quite ethically

                 24         dubious.     And they're only interest is in, for

                 25         example, lowering ages of consent or -- or in, you


                                                                                        S.App.0053
(57 of 64), Page 57 of 64    Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 57 of 64
                                                                                                     36



                  1         know, facilitating the opportunity for adults to

                  2         interact sexually with children.

                  3                     Cekubate Pedophiles is -- was one of the

                  4         first groups that did the opposite.                 They

                  5         simultaneously acknowledged, you know, any such

                  6         interaction as a danger to the child, but that,

                  7         you know, pedophiles themselves, you know -- they,

                  8         you know, need and deserve, you know, support for

                  9         dealing with a situation they didn't ask for and

                 10         couldn't change.

                 11                     So the two of us were talking -- talking

                 12         to people who were, in turn, talking about the

                 13         ever-lengthening group of gay community, gay and

                 14         lesbian community, lesbian/gay communities, which

                 15         become LGB, LGBT, LGBTT2QQIA -- I'm not making

                 16         that one up.

                 17                     And so, it was in the list.               Now, as a

                 18         sex researcher and expert in -- the entire range

                 19         of sexualities was pointing out, well, what

                 20         exactly does it mean to be in this list in the

                 21         first place?

                 22                     As a scientist with absolutely no

                 23         political agenda for this, to me, the list was,

                 24         well, you belong in there if you're blameless for

                 25         whatever the attraction pattern was, and that


                                                                                        S.App.0054
(58 of 64), Page 58 of 64    Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 58 of 64
                                                                                                     37



                  1         includes pedophilia.          Therefore, if we don't

                  2         include pedophilia, we are, as I said here,

                  3         denying the very principle that gives it to

                  4         regular and everyday gay people, including myself.

                  5              Q.     And my question was:            Did I read the

                  6         words on that page correctly?

                  7              A.     Uh, was that done?

                  8              Q.     I don't need to read it into the record

                  9         again.    I'll move on.

                 10                     You would agree that every scientific

                 11         study has limitations, correct?

                 12              A.     Yes.

                 13              Q.     And you were asked questions, yesterday,

                 14         about the Pasternack review.              You got your own

                 15         translation of that review, correct?

                 16              A.     That is correct.

                 17              Q.     Where did you get that review?

                 18              A.     At different parts of my knowledge of

                 19         what was going on.         It came from different --

                 20         different places.         The original ones, of course,

                 21         never circulated.         And I know the scientists

                 22         themselves.      And we get together at conferences.

                 23                     And, you know, the basic conclusion of

                 24         it -- especially, because the basic conclusion of

                 25         it was the same as everything else we had known,


                                                                                        S.App.0055
(59 of 64), Page 59 of 64    Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 59 of 64
                                                                                                     42



                  1         to get better view of what she's got.

                  2                     THE WITNESS:        Actually, with my old eyes,

                  3         it's easier for me to see it from a distance.

                  4                     THE COURT:       Okay.

                  5         BY MS. HOOKER

                  6              Q.     I'd like to ask you some questions about

                  7         WPATH's SOC-8 recommendations for adolescents, the

                  8         population affected by the Ohio law at issue here.

                  9                     Under SOC-8, no medical interventions are

                 10         recommended for minors without first undergoing a

                 11         comprehensive biopsychosocial evaluation, right?

                 12              A.     And I'm sorry.         Which version is this?

                 13                     After it was initially released, they

                 14         changed it and rereleased it.

                 15              Q.     This is Defendant's Exhibit CC; it's

                 16         version 8.

                 17                     THE COURT:       He's asking which version

                 18         this is.

                 19                     MS. NAROG:       Well, do you have a hard

                 20         copy?

                 21                     MS. NAROG:       Yes, he has a copy in his

                 22         book.

                 23                     MS. NAROG:       You have a hard copy in your

                 24         binder.

                 25                     THE WITNESS:        What's that?


                                                                                        S.App.0056
(60 of 64), Page 60 of 64    Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 60 of 64
                                                                                                     43



                  1                     MS. NAROG:       Defendant's Exhibit CC.

                  2                     MS. NAROG:       It's in the second book.

                  3                     THE WITNESS:        Oh, okay.       Thank you.

                  4                     MS. NAROG:       I'm going to go ahead and ask

                  5         Ms. Krsulich to move to your section 6.3, page 53

                  6         of this document.

                  7                     THE COURT:       Wants you to go to page 53.

                  8                     THE WITNESS:        I'm there.

                  9         BY MS. NAROG:

                 10              Q.     Dr. Cantor, section 6.3 of SOC-8 says the

                 11         following:

                 12                     "Given this research and the ongoing

                 13         evolution of gender diverse experiences in

                 14         society, a comprehensive diagnostic

                 15         biopsychosocial assessment during adolescence is

                 16         both evidence-based and preserves the integrity of

                 17         the decision-making process.              In the absence of a

                 18         full diagnostic profile, other mental health

                 19         entities that need to be prioritized and treated

                 20         may not be detected."

                 21                     "They are no studies of the long-term

                 22         outcomes of gender-related medical treatments for

                 23         youth who have not undergone a comprehensive

                 24         assessment.      Treatment in this context, e.g., with

                 25         limited or no assessment, has no empirical support


                                                                                        S.App.0057
(61 of 64), Page 61 of 64    Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 61 of 64
                                                                                                     44



                  1         and therefore carries the risk that the discussion

                  2         to start gender-affirming medical interventions

                  3         may not be in the long-term best interest of the

                  4         young person at the time."

                  5                     This part of WPATH's SOC-8

                  6         recommendations is for adolescent care, correct?

                  7              A.     It appears to be, yes.

                  8              Q.     And you talked about adolescent females

                  9         with late-onset gender dysphoria being a different

                 10         population than the prior population of minors

                 11         with gender dysphoria, were mainly prepubertal

                 12         boys, correct?

                 13              A.     The -- really, when I said "late onset,"

                 14         again, typically those are middle-aged people and

                 15         are practically always biological males.                    They're

                 16         different from the adolescent onset or child onset

                 17         cases.

                 18                     MS. HOOKER:        Ms. Krsulich, can you please

                 19         move to the next page.

                 20                     THE COURT:       Are you doing okay, Ebony?

                 21                     MS. HOOKER:        Just give me one moment,

                 22         please.

                 23         BY MS. HOOKER:

                 24              Q.     Okay.     SOC-8 recommends the following:

                 25                     "In some cases, a more extended


                                                                                        S.App.0058
(62 of 64), Page 62 of 64    Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 62 of 64
                                                                                                     45



                  1         assessment process may be useful, such as for

                  2         youth with more complex presentations (e.g.,

                  3         complicated mental health histories), co-occurring

                  4         autism spectrum characteristics, and/or an absence

                  5         of experienced childhood gender incongruence"; is

                  6         that correct?

                  7              A.     You --

                  8              Q.     Did I read that correctly?

                  9              A.     You referred to that as a recommendation,

                 10         which is not correct.           The recommendations are --

                 11         you know, have a specific technical meaning

                 12         with -- inside a clinical practice document.                    That

                 13         sentence is not part of that recommendation.                    This

                 14         is --

                 15              Q.     Did I read that sentence correctly?

                 16              A.     You read the sentence itself correctly,

                 17         although it's difficult to understand the context

                 18         of the sentence without, you know, also

                 19         understanding other passages elsewhere in the

                 20         document.

                 21              Q.     Section 6.12.b, includes the following:

                 22                     "Given potential shifts in gender-related

                 23         experiences and needs during adolescence, it is

                 24         important to establish that young persons have

                 25         experienced several years of persistent gender


                                                                                        S.App.0059
(63 of 64), Page 63 of 64    Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 63 of 64
                                                                                                     46



                  1         diversity/incongruence prior to initiating less

                  2         reversal treatments such as gender-affirming

                  3         hormones and surgeries."

                  4                     Did I read that correctly?

                  5              A.     The text is read correctly.               But the --

                  6         again, there's -- the problem with it is that it,

                  7         by itself, leaves so much open to interpretation,

                  8         and it's -- from the point of view of somebody who

                  9         knows the literature that it's talking about, it

                 10         misrepresents the literature that it's talking

                 11         about.

                 12                     MS. NAROG:       You can take that down,

                 13         Ms. Krsulich.

                 14         BY MS. NAROG:

                 15              Q.     You don't have any personal knowledge of

                 16         how Ohio medical practitioners either gate keep or

                 17         don't gate keep in the provision of

                 18         gender-affirming care to transgender adolescents,

                 19         correct?

                 20              A.     That is correct.          The whole basis of

                 21         science is to identify the universal principals.

                 22         It's like asking whether a scientist has any

                 23         specific knowledge of gravity works differently in

                 24         Ohio than some place else.             There's no reason to

                 25         suspect it would different.             One uses in science


                                                                                        S.App.0060
(64 of 64), Page 64 of 64    Case: 24-142, 08/19/2024, DktEntry: 125.2, Page 64 of 64
                                                                                                     47



                  1         what's called "null hypothesis testing."                    We

                  2         assume it's the same until there's evidence of

                  3         difference, not vice versa.

                  4              Q.     You don't know if there are doctors in

                  5         Ohio whose practices conform to what you've

                  6         described as "transition on demand," correct?

                  7              A.     I keep notes when large cases hit the

                  8         media.     I would have to check my notes if any were

                  9         in Ohio.

                 10              Q.     And you were deposed in this case,

                 11         correct?

                 12              A.     Yes.

                 13              Q.     And do you recall in that case being

                 14         asked, "Are you aware of any physician in Ohio

                 15         that are providing transition on demand?"

                 16                     And you answered, "Oh, even if there are,

                 17         I'd be surprised they used that term"?

                 18              A.     Yes, that all sounds true.

                 19                     MS. NAROG:       Can you actually pull up the

                 20         testimony?      Refresh --

                 21                     THE COURT:       He said it's true.

                 22         BY MS. NAROG:

                 23              Q.     You continued the question:               "Even if

                 24         they don't use the term 'transition on demand,'

                 25         are you aware of any physicians in Ohio whose


                                                                                        S.App.0061
